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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

                                                             222
                                            Case No. 2022 CV ____
                                             Complaint for Declaratory
                                             and Injunctive Relief
FAMILIES A, B, C and D, on behalf of
themselves and on behalf of all Florida
families with minor children,

     Plaintiffs,

         v.

RON DESANTIS, as Governor of Florida;
SHEVAUN HARRIS, as Secretary of the
Florida Department of Children and Families;
JOSEPH LADAPO, M.D., as the Executive
Director of the Florida Department of Health;
PATRICIA ARMSTRONG, as the Bureau Chief
of the Florida Department of Health Child
Protection Team; and
DENNIS MOORE, as Executive Director of the
Florida Guardian ad Litem Program,

     Defendants.


                             COMPLAINT


      Plaintiff FAMILIES A, B, C and D, on behalf of themselves and on

behalf of all Florida Families with Minor Children, sue Defendants RON

DESANTIS, as Governor of Florida [Governor], SHEVAUN HARRIS, as


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Secretary of the Department of Children and Families [DCF], JOSEPH

LADAPO, M.D., as the Executive Director of the Florida Department of

Health , [DOH], PATRICIA ARMSTRONG, as the Bureau Chief of the

Florida Department of Health Children’s Medical Services and the Child

Protection Team [CMS or CPT], and DENNIS MOORE, as Executive

Director of the Florida Guardian ad Litem Program [GAL], and allege:,

                 I.     JURISDICTION AND VENUE
     1.    Jurisdiction is invoked pursuant to 28 U.S.C §1331 and 1343 in that

this is a civil action arising under 42 U.S.C. 1983 to redress the Defendants’

deprivation under color of state law of the rights, privileges and immunities

secured to the relatives and children involved in the Florida foster system by

the Constitution and laws of the United States and the State of Florida. The

federal rights sought to be redressed are guaranteed by the Fourteenth

Amendment to the United States Constitution. This Court also has jurisdiction

pursuant to 28 U.S.C. §2201 and 2202, as Plaintiffs seek injunctive relief

prohibiting unlawful separation of children from their relatives and the

unlawful   internal   diversion   of   foster   children   to   system-connected




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nonrelatives1 and seek declaratory relief relating to their constitutionally

protected familial associational rights and other equitable relief.


        2.      Venue lies in Leon County, Florida pursuant to 28 U.S.C. §1391(b),

as Plaintiffs’ claims arise out of their relationship with the Defendants, in the

course       of the Defendants’ operation of                     the Florida foster care system

throughout the state; and a majority if not all of the Defendant officials have

their place of         business in Leon County, Florida, which is located in the

Northern District of Florida, Tallahassee Division.


                         II. INTRODUCTORY STATEMENT

                             A. Florida’s Foster Care System

        3.      This is an action for declaratory and injunctive relief pursuant to

42 U.S.C. §1983 and the Due Process and Equal Protection Clauses of the

United States Constitution and the Florida Constitution.

        4.      This case involves the Florida foster care system, part of which

is funded by Florida taxpayers, while the federal government funds the



1
  The nonrelative recipients to whom the children from the four Plaintiff Families were “internally
diverted” included a lead agency Board Member and trustee, a licensed foster parent couple of whom one
was a volunteer with the Guardian ad Litem Program, the other provided mandatory comprehensive
behavioral health assessments [CBHA’s] of foster children for the lead agency, a behavioral health specialist
employee of a lead agency, and a social worker serving as a case manager, respectively.

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balance. [The numbers for 2018 (the most recent available) show the federal

government providing funds equaling some 61% [$776,840,104 of the

$1,295,069,665 total], with state and local funding for the balance].

      5.      Under state and federal law, the purpose of the foster care

system is to provide for the care, safety, and wellbeing of minor children in

Florida, with their families to be engaged in constructive, supportive, and

non-adversarial relationships, with as little intrusion into the life of the

family as possible. See, e.g. Fla Stat. §39.001 (2018, unless otherwise

specified).

      6.      Presently, Florida law recognizes the responsibility of the

DCF to oversee the operation of the foster care system, including case

handling of foster cases; DCF also directly handles initial investigations

with the CPT and provides dependency system Children’s Legal Services

[CLS] attorneys to represent the State of Florida in the dependency case.

      7.      When the Defendant Foster System Operators [DCF, CPT and,

GAL Program] believe that a child’s safety warrants immediate removal

from the Birth Parents while the Birth Parents participate in a case plan to

improve their ability to safely parent children, the Defendant Foster System

Operators have a duty under both state and federal law to locate relative

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caregivers to care for the children during the case plan phase of the

dependency case under state and federal law. Only if there are no suitable,

willing, and available relatives, is it appropriate for the children sheltered

from their Birth Parents to be placed with nonrelative strangers.

      8.    When there are concerns for the safety of children, parents can

be monitored as they comply with services to complete their system-

supervised case plans, with successful completion allowing reunification

with the Birth Parents of their sheltered children.

      9.    When Foster System Officials believe the facts and safety

concerns warrant the immediate filing of a petition to expedite termination

of the Birth Parents’ parental rights, the system must, at the adjudicatory

hearing [trial] meet the stringent requirements set forth in Santosky v.

Kramer, 455 U.S. 745 (1982) (to terminate parents’ fundamental rights to

parent their children, the state must demonstrate by clear and convincing

evidence that the parents abused or neglected the child and that the abuse

or neglect harmed the child) and must demonstrate the absence of any less

restrictive action that can protect the child. Discovery rules applicable in TPR

cases are based on constitutionally protected due process considerations and

reflect the expectation that foster system officials will provide Birth Parents
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and the supervising dependency court judge not only factual evidence that

will be relied upon at trial, but also evidence that is exculpatory for the

accused parents, similar to the Brady v. Maryland, 373 U.S. 83 (1963), burden

of providing all relevant information, including that which is exculpatory,

as well as that on which the foster system operators may rely.

      10.   If TPR is deemed appropriate and parental rights are ended, the

foster system is obligated - as a matter of federal and Florida law – to update

a diligent search for relatives to adopt the child and provide permanency for

the child with available, safe relatives, as Florida’s Legislature has codified

the social work best practices to that effect, because the evidence shows that

children who cannot be safely returned to Birth Parents do better when

placed with relatives, rather than nonrelative strangers.

      11.   Florida and federal law prohibit inappropriate interference with

familial rights, especially when Foster System Operators engage in conflicts

of interest, self-dealing and breaches of fiduciary duties to attempt to divert

or   take children from their biological families to nonrelative system-

connected chosen ones, rather than following the legal mandates for diligent

searches for family members, so that children not able to be returned to the

Birth Parents are permanently placed with biological relatives.
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      B. Florida’s Foster System Increasingly Serves as a Child Snatching
      /” Internal Diversion” System Taking Children from Families and
      Relatives and Letting Foster System Connected Staff Take Them

      12.   This suit addresses the failure of the Defendants to follow the

laws relating to the minor children in Florida foster care and their biological

relatives entitled to participate with those children, as provided by Florida

and federal laws prioritizing the placement and permanency rights of

biological and other family members.

      13.   This suit seeks injunctive relief against the foster system

personnel using the foster care system to identify and take children for

themselves, away from biological kin, and addresses the unlawful “internal

diversion” practices pursued by the Defendant Governor and those

subordinates of his, who operate the foster care system, letting the operators

of the system essentially have their choice of the minor children placed into

the state’s foster custody, interfering with the children’s relationships with

their families, contrary to law.

      14.   Plaintiffs also seek declaratory relief condemning the unlawful

internal diversion/child snatching practices the Defendant Foster System

Operators have been practicing, choosing either to ignore suitable relatives

so they can effectuate the internal diversions and takings, or choosing to

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ignore the ongoing duty to diligently search for relatives until they find

relatives suitable to raise the foster child.

        15.     To operate the system for internal diversion of children, Foster

System Operators executing their responsibilities [including DCF, CPT, the

GAL and DCF’s contracted lead agencies] use a number of artifices and

devices, and other outright unlawful actions, including, but not limited to:

              a. Withholding key information 2 from the dependency court and

                Birth Parents and their attorneys about conflicts of interest

                between case managers and the interests of the children and

                their families, when system connected, personnel have decided

                to push to end the parents’ rights and let the children be adopted

                by system-connected personnel, despite the laws providing

                otherwise;

              b. Not providing the dependency court, or Birth Parents and their

                attorneys, with pertinent exculpatory information;


2
  Key information such as: the genetics lab test results showing evidence of a genetic mutation potentially
indicating a brittle-bone type of disease in an otherwise unexplained fracture case [Family A]; choosing not
to give Family B the prompt notice to which they were entitled when a full sibling of their adoptive
daughter was born, and taken into foster care; withholding information from the dependency court that
Foster System Operators did not want to update the family finding diligent search they were obligated to
conduct and further withholding from the court that they were planning to internally divert and that there
were numerous suitable relatives available for the Family C child; and withholding from the dependency
court the accurate and truthful information about the Family D relatives.

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   c. Taking advantage of many dependency judges’ lack of

      knowledge of the foster system and the resulting inappropriate

      reliance on the Foster System Operators;

   d. Playing” hide the ball” with information needed by family

      members, blocking family members from access to hearings and

      information about how the system works, and what the case

      plans for permanency for the child are;

   e. Using ex parte communications [contrary to Florida Bar Rule 4-

      3.5 and contrary to Judicial Conduct Rule 3-B7] to block access to

      the dependency court for relatives entitled to hearings under the

      Uniform Child Custody Jurisdiction Enforcement Act [UCCJEA]

      Fla. Stat. §§61.501-542) (2018);

   f. Fabricating “evidence” against relatives and obstructing access

      to key medical information relating to children needed by the

      dependency court for a fair and impartial hearing;

   g. Not obtaining, or withholding, medical information pertinent to

      the foster child, refraining from obtaining and attaching the

      child’s medical records to judicial review social study reports,

      and choosing not to provide them to the Birth Parents and their
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       counsel, then withholding them from evidence in TPR

       proceedings that are the essential legal step in freeing a child for

       adoption;

    h. Failing to conduct the requisite diligent searches for biological

       relatives of the child when a child is sheltered and then again

       throughout the case, and again, as required after a TPR

       judgement;

    i. Choosing a nonrelative system-connected person for placement

       of a child instead of complying with the law and placing the

       child with relatives;

    j. Having the lead agency [and, at times, a subcontracted case

       management agency] work with DCF to divert children to

       favored     non-relatives, rather than conducting the required

       diligent searches for relatives;

    k. Improperly using a parent’s attempt to get medical care for a

       child as an event triggering the shelter of the child, contrary to

       chapter 787, Florida Statutes;

    l. Relying heavily on provisions in the Rules of Juvenile Procedure

       to misinterpret and preclude relatives from being properly
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       involved in the case handling for the child’s case, trampling on

       constitutionally protected due process rights of relatives;

    m. Taking advantage of the lack of knowledge of Birth Parents and

       their attorneys of the dependency system, and lack of experience

       of their attorneys with the dependency system;

    n. Ignoring frequently [if not as often as possible] the due process

       rights of Birth Parents and other Relatives to be present with

       advance notice of judicial review proceedings and blocking

       Relatives from being heard in dependency court proceedings by

       their misuse of the “Participant/Party” Rule of Juvenile

       Procedure and the related statutory definitions in chapter 39,

       Florida Statutes.

    o. In unexplained fracture cases, ignoring the Santosky v. Kramer,

       supra burden on Foster System Operators to prove the alleged

       abuse by the clear and convincing evidence, and improperly

       shifting the burden to Birth Parents and their attorneys to

       explain reasons for a child’s condition when the reason the child

       came to the attention of CPT and the other Foster System

       Operators was the parent’s seeking medical treatment;
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            p. Compromising the ethical obligations of the attorneys for Birth

               Parents by paying the attorney for system-connected services

               inconsistent with the attorney’s obligations to his or her clients;

            q. Fabricating false reports of abuse attributed to a relative to justify

               failing to approve a relative for placement while attempting to

               place a child with a non-relative.

      16.      When relatives who realized how their related youngsters had

been essentially kidnapped, snatched, or internally diverted, complained to

Defendant Governor directly or through the Inspector General for one or

more of the Departments,          the   Defendant Governor and his minions,

including the supposedly independent Inspector General, took no

independent action other than to redirect the complaints to DCF and the

other Foster System Operators themselves to handle, with no accountability

or redress for the relatives of the snatched, diverted children.

      17.      When the Defendant Governor’s Foster System Operators

created false reports or took other inappropriate action to disqualify a

relative from DCF’s consideration for temporary or permanent placement of

a child, the Foster System Operators withheld from the victim of their

fabrication of reports information available as to how the wrongfully
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disqualified relative could get the erroneous information corrected and

removed, and get their names off the registry of abusers, such as by initiating

an appeal to the Adoption Applicant Review Committee [AARC]. DCF’s

AARC has administrative jurisdiction to hear evidence relating to the

disqualification and provide corrective and other recommendations relating

to disqualifying background information, in addition to considering and

recommending resolution of competing claims to be selected as the adoptive

parents of a child whose Birth Parents’ rights have been terminated.

                                  III. PLAINTIFF FAMILIES
                             Plaintiff Family A - The Williamses3

                               Snapshot of the Williams Family

        18.     The Williams Family includes a large number of relatives on

both of the Birth Parents’ sides, including many in Florida and other states.

Birth Mother Taniyah Crutch-Williams had local relatives in the North

Florida area in 2017 who included the children’s maternal grandparents Lisa

Crutch and Donald Crutch, three aunts and their families, and two siblings




3
  The adult Williamses prefer to use their actual names. The minors’ will be referred to as, Lil R., R.W. and
T.W.


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and their families, with additional aunts and uncles in the Tampa area. Other

maternal relatives are in New York.

     19.    Birth Father Rodney Williams, Jr.’s local relatives in the North

Florida area in 2017 included the children’s paternal-great grandmother, the

children’s paternal grandparents and paternal uncle and aunt.

      20.   The adult members on both sides of the families are strongly

middle or upper-class people, involved in businesses of their own or

honorably working for others, many served in the military, all with honor,

many obtained four- or two-year college degrees. The family members,

including a number of additional maternal relatives in New York, stay in

close contact with each other.

                     Closer Look at the Williams Family

     21.    Taniyah Crutch-Williams and her husband Rodney Williams, Jr.

are the Plaintiff Williams Birth Parents. The Williams Birth Parents have

three biological children: Lil R.W., III (“Lil R.”, DOB 2015), R.W. (DOB 2017)

and T.W. (DOB 2020). They bring this action on behalf of themselves

individually and as the victims of the Defendant Governor’s wrongful

taking of their rights to parent Lil R. and R.W., and as the natural guardian

of T.W., whose First Amendment sibling associational rights have been

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wrongly interfered with; they also bring this action on behalf of other

parents whose children were wrongly removed by Foster System Operators.

      22.   The maternal biological grandparents of the three biological

Williams children are Lisa Crutch and the late Donald Crutch. Maternal

biological grandmother Lisa Crutch brings this action individually with

respect to her associational rights with her grandchildren being wrongly

interfered with, and with respect to the Defendant Foster System Operators

falsely placing her name on the child abuse registry to disqualify her from

serving as a relative caregiver for her grandchildren Lil R. and R.W.

following the children’s removal from Birth Parents in August 2017.

      23.   The paternal biological grandparents of the three biological

Williams children are Charlotte Williams and Rodney Williams, Sr. They

bring this action individually and as legal guardians of their adoptive son

Lil R. [who, with the termination of the Birth Parents’ rights to parent Lil R.

and R.W., also became the legal brother of their biological adult son Rodney

Williams, Jr.].

      24.   The named adult Williams plaintiffs are acting on behalf of

themselves and on behalf of the plaintiffs and other relatives of children

diverted from their biological family members to nonrelative foster system-
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connected persons after state officials took children from their families and

placed them in the foster care system operated by Florida’s Governor

through DCF, and through DOH and its CPT bureau.

                          Plaintiff Family B – The Rogers Family 4

        25.     The Rogers Family Plaintiffs include David Rogers and his wife

Charlotte Rogers, individually and as legal guardian of their Florida-born

adoptive daughter Alexandra R. (DOB 2015).

        26.     Alexandra has a full sibling brother [birth initials M.S. DOB 2017)

born in Florida and taken into foster care on May 11, 2017.

        27.     The Rogers Plaintiffs are residents of North Carolina and bring this

action on behalf of themselves and as legal guardian of their adoptive daughter

for the violation of their familial legal and associational rights with Alexandra’s

full-blooded brother, and of Alexandra’s constitutionally protected familial

associational rights with her full sibling.

        28.      They are also acting on behalf of other parents of adopted children

for whom Florida foster system officials owe a duty under federal and Florida

law, and the DCF’s own regulations, Fla. Admin. Code § 65C16.002(3) to



4
 The name “Rogers” selected for this Plaintiff Family is a pseudonym to protect the Rogers Family Plaintiffs
as the adoptive parents of a child identified by pseudonym, Alexandra R.

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provide prompt notification of the sheltering of a full or half sibling of an

already adoptive child, so that the adoptive parents of such siblings can be

given their entitled priority over nonrelatives in the temporary and permanent

placement of later-sheltered biological foster siblings.

        29.     Finally, they bring this action on behalf of those in other states for

whom the Florida Uniform Child Custody Jurisdiction Enforcement Act

[UCCJEA], statute is applicable to protect the due process rights of meaningful

notice and an opportunity to be heard when a Florida court is considering

custody and temporary or permanent placement of minor children in Florida

foster care.

                             Plaintiff Family C - The Mitchells5

                             A Snapshot of the Mitchell Family

        30.     The extended Mitchell Family includes many maternal relatives of

Regan’s in Florida during the time following her birth in 2015, including great,

great aunt Kathy Gomez, great aunts April Maxwell and Dale Felton and their

families, and grandfather Pedro Morgan and his minor daughter. There were

numerous other maternal relatives in Massachusetts, including great aunt


5
  The surname “Mitchell” is a pseudonym to protect the privacy of the relative minor child internally
diverted from the Mitchells; the Mitchells’ minor child relative will be referred to by a pseudonym, Regan
M, her siblings by pseudonyms Alicia M. and Chelsea D.

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Kendall Mitchell [background in preventing childhood abuse and trauma, early

childhood education, raised three daughters, all college educated], in addition

to the Birth Fathers of Regan’s two half-sisters, Chelsea D. and Alicia M.

Spencer DaCosta is the Birth Father of Chelsea D; his then-fiancé/now wife

Anna DaCosta is a nurse. All family members have solid family values and

would have passed a properly administered home study, and all were willing

and available to raise Regan if the family placements with the Florida relative

families did not work out.

     31.    The extended Mitchell Family consists of numerous relatives of the

minor child Regan M. (DOB 2015). Those involved as Plaintiffs here include

maternal great aunt Kendall Mitchell, who applied to, and who was approved

to, adopt Regan. Plaintiff Mitchell brings this action individually and on behalf

of those approved by the Adoption Applicant Review Committee [AARC] but

whose attempts to adopt their relatives were thwarted by the internal diversion

efforts of foster system officials despite the AARC approval.         [The DCF

publication explaining the AARC, and its role is attached as Exhibit 1].

      32.   Regan has two half siblings, Alicia M. (DOB 2010) and Chelsea D.

(DOB 2014); all three sisters share the same Birth Mother. Spencer and Anna

DaCosta bring this action individually and as the natural and legal guardians
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of daughter Chelsea D. Milton Murphy and Melanie Murphy bring this action

individually and as the natural and legal guardians of daughter Alicia M. Both

sets of guardians of Regan M.’s half siblings also bring this action on behalf of

parents and custodians of children whose siblings and half siblings were

internally diverted to nonrelative foster system-connected personnel.

     33.    With her own two children, great aunt April Maxwell and her

partner Marcus Diamond served as relative caregivers for Regan for more than

two years. They bring this action for themselves individually and as natural

and legal guardians of their two minor children Everett M. (DOB 2005) and

Hilarie M. (DOB 2006), and on behalf of other relative caregivers from whom

the foster system-connected folks diverted a minor child, after presenting the

dependency court with erroneous information about them, and improperly and

incorrectly telling Plaintiff Diamond he had no right to come to court or to be

heard.

      34.   Great aunt Dale Felton and great uncle Slade Felton and their

children Jaclyn [2010]and Laurel F. [2013] also served as relative caregivers for

Regan, with the children having a sibling type relationship before Regan was

improperly and prematurely diverted from their home to be taken by

nonrelative system-connected personnel. They bring this action on behalf of
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themselves individually and as natural guardians of their two minor children

and on behalf of other relative caregivers from whom the nonrelative foster

system-connected staff wrongly diverted a minor child.

        35.     Regan M.’s biological grandfather Pedro Morgan brings this action

individually and on behalf of his minor daughter Karla M. (DOB 2004), who

for more than a year, had a sibling relationship with her biological niece Regan,

and also brings this action on behalf of biological grandparents of minor

children who are deprived of contact with their grandchildren despite Florida

legal provisions that require Foster System Officials to make sure there is an

evidentiary hearing to address and provide for ongoing contact between the

biological grandparents and their grandchildren.

                             Plaintiff Family D – The Budloves6

        36.     The Budlove Family Plaintiffs include the Plaintiff Birth Mother

Brittany Budlove and her biological daughter, T.B. [DOB 2019], maternal

grandmother Judy Miller [retired owner/operator of a McDonald’s, moved

to Florida to be near the Birth Mother and grandchild T.B.], maternal aunt

Chauntina Kern [in-home healthcare worker for nine years] , maternal aunt


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  The Birth Mother and her relatives have chosen to use the actual names of the adult Plaintiffs, with the
actual first name of the child


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Kiesha Kern [truck driver for metals company for more than ten years],

maternal uncle Gregory Nunley [has worked at Tootsie Roll Factory in

Chicago for 20 years], maternal great uncle Dr. Richard Nunley [teacher for

Chicago Public School system for nearly 40 years, [maternal great aunt Felicia

Nunley [elementary school teacher for more than 20 years], maternal cousin Dr.

Danielle Nunley [pharmacist/pharmacy manager], and maternal cousin

Simone Wilson [licensed therapist and clinical social worker for more than

seven years].

      37.   The maternal relatives are all willing, available, and appropriate to

care for T.B.

      38.   The Birth Parents were divorced in February 2021; the Birth Father

is not involved.

      39.   Of eight maternal relatives, many of whom initially had their home

studies approved, the Defendant Foster System Operators have nevertheless

chosen thus far to exclude them as caregivers for their relative T.B. so that a

nonrelative system-connected custodian can have T.B.

      40.   The maternal relatives named personally reached out to the

assigned case management and their agency and were rebuffed and or



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purposely misguided regarding their request to obtain custody of their young

family member

      41.   The Birth Mother Plaintiff brings this action individually and on

behalf of the wrongful deprivation of familial associational rights with T.B., and

on behalf of all others similarly situated.

                              IV. DEFENDANTS

                     A.     Defendant Governor DeSantis

      42.   Defendant DeSantis is the Governor of the State of Florida, the head

of the executive branch of Florida’s government and the person responsible for

the proper operation of the foster care system, including the portions of the

system operated by the Florida Department of Children and Families [DCF],

the Children’s Medical Services [CMS] and Child Protection Team [CPT]. By

law Defendant Governor is responsible for the proper administration of DCF,

assuring DCF operates in conformity with State and federal law and in

compliance with the agreement with the federal government under, inter alia,

the Adoption and Safe Families Act and the Family First Prevention Services

Act of 2018, which parallels Florida legislative changes adopted in 2018.

      43.   Defendant DeSantis is sued in his official capacity.



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      44.   As executive officer of Florida, the Defendant Governor is

responsible not only for the hiring and continued employment of Shevaun

Harris, Secretary of DCF and of Joseph Ladapo as Executive Director of DOH,

but also to make sure that CPT Bureau Chief Armstrong and the CPT personnel

are not abusing their positions.

      45.   Defendant DeSantis is also responsible under State law for

oversight of DCF compliance with the mandatory provisions of Chapter 39,

Florida Statutes and Chapter 65C of the Florida Administrative Code relating

to dependency cases, foster care and termination of parental rights and is

responsible for ensuring DCF protects the federally protected civil rights of

foster children and their biological families by ensuring that once children are

removed from their biological parents, they are placed with biological family

members if they cannot be safely returned to their Birth Parents.

      46.   Defendant DeSantis is also responsible for making sure that the

Foster System Operators do not provide perjured testimony to the dependency

courts, do not withhold pertinent information, or mislead the court about

applicable law, and to make sure those operating Florida’s foster system follow

the law, rather than ignoring it to unlawfully separate foster children from their

relatives so they can be placed with nonrelative system-connected personnel.
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        47.   Since Defendant DeSantis assumed office in January 2019, he has

overseen the operations of Florida’s foster care system and tolerated actions

taken by the other foster system-connected Defendants in a manner contrary to

law.

                         B. Defendant Shevaun Harris

        48.   Defendant Shevaun Harris is sued in her official capacity as

Secretary of the Florida Department of Children and Families [DCF]. Defendant

Harris is the Florida foster system official responsible for the proper operation

of the foster care system in the state of Florida, a system operated in accordance

with federal and state law, for which the federal government provides more

than 60% of the annual funding to operate the system.

        49.   State and federal law require Florida [and, in accepting federal

funds, the State of Florida agreed] to diligently search for biological family

members for the placement of children in their legal custody, providing priority

to family members for temporary and permanent placements, prior to

placement with either a licensed foster care home or placement with non-

relatives in a non-licensed home.

        50.   As a matter of Florida public policy and law, federal lawmakers and

Florida’s Legislature have found that, as acknowledged by social workers and

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case managers, foster children do better when placed with biological relatives,

rather than nonrelative strangers; even DCF’s own policies, procedures and

Florida’s Administrative Code provisions reflect DCF’s recognition of the

importance and requirement for contact between children removed from their

families and their biological relatives.

                        C.    Defendant Dennis Moore

      51.   Defendant Dennis Moore is sued in his official capacity as executive

director of The Guardian ad Litem Program of Florida [GAL], a Florida

program which is tasked with advocating for the best interest of children in the

foster care system. GAL was designed as an advocate for children removed

from their families, to promote and protect sibling contact, provide a safety net

and oversight for the needs of children to assure case plan, therapeutic and

medical services are provided to the children in the foster care system as well

as ensure compliance by all of the Chapter 39 of the Florida Statutes, and the

other applicable state and federal laws.

                             D.   Defendant Ladapo

      52.   Defendant Ladapo, M.D. is sued in his official       capacity as the

executive director [formerly called Secretary] of the Florida Department of

Health, the department charged with providing medical foster care and other
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health services in the foster care system through Children’s Medical Services

[CMS] and the Child Protection Team [CPT]. CMS provides direct medical

services and coordinates medical services for children in the foster care system,

especially for children designated as children with medical needs. CPT is a

bureau within DOH that conducts forensic evaluations and medical

evaluations of children after reports of abuse after abuse investigations are

initiated through the Florida Abuse Hotline; each district’s regional CPT office

has a medical director to oversee allegations of abuse and neglect, and to

determine if a child has injuries attributable to abuse or neglect, rather than a

medical or other condition not attributable to abuse or neglect.

                     E.    Defendant Pamela Armstrong

     53.   Defendant Armstrong is sued in her official capacity as Bureau

Chief of CPT and CMS. She is responsible to make sure CPT personnel conduct

their assessments properly and in accordance with applicable protocols for each

office’s Medical Director and Nurse Practitioner. CMS provides direct medical

services and coordinates medical services for children in the foster care system,

especially for children designated as children with medical needs.




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          V. STATEMENT OF FACTS AND CLAIMS FOR RELIEF

                   A. First Count: The Williams Family

    54.    The Williams Family Plaintiffs reallege paragraphs 1 through 24,

and 42 through 53, and further allege:

    55.    Plaintiff Birth Parents Rodney Williams, Jr. and Taniyah Crutch-

Williams consider themselves African American. The Birth Parents are

residents of Clay County, Florida.

    56.    Taniyah Williams and Rodney Williams, Jr. are the biological

parents of three children: Lil R. W. III [“Lil R.”], R.W., and T.W. Lil R. was

born in June 2015, R.W. in May 2017, and T.W. in May 2020.

    57.    Lil R’s birth posed no special problems, but the birth of R.W. was

traumatic for both the mother and child with a number of medical issues. The

labor was prolonged by the labor and delivery staff needing to address issues

of the umbilical cord being wrapped around R.W.’s neck. Persons present

stated that R.W.’s clavicle had to be broken to facilitate the delivery. The

medical records contain documentation that R.W. had a heart rate of 0 (zero)

and an initial Apgar of 1 (one); an Apgar of 1 (one) indicates clinically

deceased. Hospital staff took R.W. to the NICU for several hours to help

stabilize her and make sure she continued breathing.

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    58.    Photographs of R.W. shortly after her birth show several bruises to

her face and body. The bruising occurred during the intensive labor and

delivery process.

    59.    Pediatrician Dr. Khalil Wallizada was the primary pediatrician for

Lil R. Dr. Wallizada became R.W.’s primary pediatrician at birth. During

R.W.’s initial visit with Dr. Wallizada he documented the fractured clavicle.

    60.    Within weeks of R.W.’s birth, both of the Birth Parents attended

R.W.’s well baby check-ups with Dr. Wallizada. Additionally, R.W. had

numerous ER hospital visits due to other health concerns. In June 2017, R.W.

visited Orange Park Medical Center [OPMC]’s emergency room with a health

concern.   Because the Birth Mother continued to have concern with the

medical diagnosis at OPMC, the day after R.W. was discharged from OPMC,

the Birth Mother took R.W. to Wolfson Children’s Hospital [Wolfson]’s

emergency room, where R.W. was admitted due to difficulty with feeding,

constant vomiting, and elevated temperature. R.W. remained at Wolfson for

several days, during which a spinal tap was performed. After discharge from

the several day Wolfson stay, in August 2017, the Birth Mother took R.W. to

the Wolfson emergency room because of concerns about the way R.W., then

approximately 12 weeks old, seemed to be unusually favoring her left leg,
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after R.W. cried out during a diaper change. . An x-ray was done, and a

fracture of the femur was diagnosed. A full skeletal survey was then ordered.

The skeletal survey showed a femur fracture, fifteen (15) rib fractures at

various stages of healing, a possible spinous process fracture of the T12

vertebrae, a healing clavicle fracture and two jaw fractures at various stages

of healing.

    61.   Pediatrician Dr. Wallizada had noted R.W. was born with blue

sclera. Because of the results of the blue sclera and the results of the skeletal

survey, Dr. Wallizada clinically diagnosed R.W. with Osteogenesis

Imperfects, a brittle bone disease. He saw no indications of any abuse of R.W.

by either Birth Parent or anyone else.

    62.   Although Dr. Wallizada had previously diagnosed R.W. with a

brittle bone disease, possibly Osteogenesis Imperfecta, and knew the Birth

Parents to    be conscientious, good parents of both Lil R. and R.W., an

improperly    supervised    advanced registered nurse practitioner [ARNP]

employed by and collaborating with the CPT had concerns the femur fracture

and all the other broken bones may have resulted from abuse.

    63.   DCF asked the Clay County Sheriff’s Department to investigate

criminal child abuse of R.W.. Law enforcement investigated. The case was
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closed with no criminal charges, no probable cause was found based on the

input from pediatrician Dr. Wallizada.

    64.   DCF nevertheless filed a shelter petition with the dependency court

on August 30, 2017. At that hearing, the judge granted DCF’s request to

remove Lil R. and R.W. from the care and custody of the Birth Parents.

    65.   DCF disqualified maternal grandmother Lisa Crutch as a possible

relative caregiver.   DCF and lead agency Kids First of Florida [KFF]

caseworkers falsely claimed that the maternal grandmother Lisa Crutch had

abused her own son years earlier and falsely claimed the grandmother was

erroneously listed on the abuse registry as a child abuser.

    66.   Maternal grandmother Crutch disputed the charges of abuse in

writing and spoke to the DCF Inspector General.         During that call, the

representative from the DCF Inspector General asked, “Why is your name

connected to cases that have nothing to do with you?” That representative

gave no further information to maternal grandmother Crutch, other than he

would relay the anomaly to his supervisor.         The non-abusive maternal

grandmother later received a suspicious unsigned, obviously fabricated

“Confidential Investigative Summary” report showing both maternal

grandparents [Lisa Crutch and her late husband “Don”] as child abusers. The
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name of the maternal grandfather shown on the report was not a name her

husband Donald Crutch used; the birth dates shown for Mr. and Mrs. Crutch

incorrect, and the age of the alleged “child” abuse victim was listed as age 18.

     67.   DCF improperly gave no further information to the maternal

grandparents about their right to get the records corrected and their names

removed from the abuse registry. They did not provide information about the

AARC process or any other process that Ms. Crutch could pursue to correct

the significant mistake.

     68.   There were several other relatives of the children and Birth Parents

in the area at that time in 2017, including paternal great grandmother Barbara

Evans, some aunts, and the paternal grandparents, all of whom were suitable,

willing and able to take both of the children, to keep them together, if the

children could not be returned to their Birth Parents at the shelter hearing or

later.

     69.   At the time of the August 2017 shelter hearing, R.W. was still in the

hospital. The genetic testing ordered by Dr. Wallizada had been cancelled,

apparently by CPT and the genetic testing ordered elsewhere, apparently by

CPT, without the approval of Dr. Wallizada, had not yet been performed;

there were no genetic test results available.
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    70.   Despite the numerous relatives available, DCF and the other Foster

System Operators convinced the dependency judge that R.W. should go to

nonrelative stranger care upon her release from the hospital, while Lil R.

would be placed with the maternal great grandmother Barbara Evans, thus

separating the children, without the mandatory sibling separation assessment

being done. Additionally, the Defendant Foster System Operators provided

very few sibling visits between Lil R. and R.W., from the time they were

placed separately, continuing to this day, completely contrary to law.

    71.   At the request of the Defendant Foster System Operators, the judge

ruled that the Birth Parents could have supervised visitation with the two

children, with great grandmother Evans supervising visits with Lil R. and the

Clay County lead agency KFF (on behalf of DCF) facilitating visits for the Birth

Parents with R.W.

    72.   Pursuant to Chapter 39, DCF (which used to directly operate the

foster care system, but now supervises private contractors’ operation of the

system, other than the investigative and legal representation parts of the

system) had contracted with KFF to handle the case management of the

dependency case and serve as the lead agency responsible for operating the

system in Clay County. Pursuant to KFF’s contract with the State of Florida
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and DCF, KFF is mandated to fully comply with both federal and Florida laws

regarding its operational foster system responsibilities.

    73.   With the shelter detention order, case management responsibilities

moved from the Defendant Foster System Operators, including DCF and CPT,

to the lead agency, and the GAL Program was officially appointed.

    74.   On October 10, 2017, with input from CPT, DCF filed a petition for

an expedited termination of the Birth Parents’ rights regarding both Lil R. and

R.W., alleging without justification that both parents had engaged in acts of

physical abuse towards both children. DCF’s decision to pursue the expedited

TPR goal rather than offering the Birth Parents a case plan was supported by

the Defendant Foster System Operators and lead agency KFF, but contrary to

and unsupported by the available information.

    75.   When R.W. was released from the hospital, she was initially placed

in a medical foster home operated by the CMS part of DOH [the same

department in which CPT is housed], rather than the traditional foster care

part of the foster care system under DCF control and oversight. On or about

October 17, 2017, Defendant Foster System Operators moved R.W. to a

nonrelative non-medical licensed foster home under DCF supervision, rather

than to relative care as state and federal law required.
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    76.   Contrary to federal and state law’s- required prioritization of

relative placement of R.W., the Defendant Foster System Operators secretly

chose to place R.W. with nonrelative system-connected foster parents, one of

whom was a member of lead agency Kids First of KFF [KFF] board and a

trustee of the KFF Foundation. Not only did state and federal law prioritize

placement of R.W. with her relatives, but pertinent policies and procedures

prohibited the self-dealing and favoritism of KFF nonrelative personnel over

relatives The Defendant Foster System Operators as well as KFF willfully

and negligently failed to disclose to the dependency judge the internal

diversion they were arranging and failed to disclose        the disqualifying

connection between the system-connected nonrelatives foster parents and the

lead agency to the dependency court judge, the Birth Parents and their

counsel, and other relatives of R.W.’s.

    77.   At the time of the unlawful internal diversion of R.W. to the KFF

board member and KFF Foundation trustee, the licensed foster father was

serving a several year term as a member of the KFF board of directors and also

served as a volunteer trustee for the KFF charitable, non-profit foundation,

where he handled many tasks, including signing the corporate tax returns



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submitted to IRS and other state-required forms required for KFF’s solicitation

of funds to continue.

    78.   Without any credible explanation as to why the Defendant Foster

System Operators and lead agency KFF chose not to comply with the laws and

place R.W. with her relatives, the same Defendant Foster System Operators

and lead agency KFF chose not to offer any information as to why they would

place R.W., an African American child, with nonrelative, system-connected

foster parents who are Caucasian.

    79.   Despite knowing that children who cannot be returned to Birth

Parents have better outcomes when they are placed with relatives rather than

nonrelative strangers, Defendant Foster System Operators [including the GAL

Program] inexplicably and unlawfully chose to disregard R.W.’s best interests

and instead placed R.W. with the KFF board member and his spouse, despite

the availability of paternal grandparents Rodney Williams, Sr. and Charlotte

Williams, the paternal great grandmother Barbara Evans, maternal

grandparents Lisa and Donald Crutch and various aunts and uncles, all of

whom resided locally, and ignored numerous other relatives who were

available, willing and appropriate to take, and care for, Lil R. and R.W., to



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keep them together, in one home. Family requests for regular, routine family

visits with R.W., including with Lil R., were denied.

    80.   While R.W. was in the hospital in August 2017, Pediatrician Dr.

Wallizada ordered genetic testing on R.W. at UF Health, specifically for the

bone disease Osteogenesis Imperfecta he suspected that R.W. had.

Unbeknownst to Dr. Wallizada, a CPT staff person cancelled Dr. Wallizada’s

order without consulting with or clearing the change with him. The order for

genetic testing at the UF Health Wolfson facility where R.W. was, was

canceled and changed to genetics testing at Nemours Children’s Hospital,

where R.W. was not then located. At the time of the shelter hearing, R.W. was

still in Wolfson Hospital. The genetic testing ordered by Dr. Wallizada had

been canceled at Wolfson, and changed to Nemours, but had not yet been

performed at Nemours. There were no genetics test results available at the

time of the shelter.

    81.   In November 2017, while in foster care with the nonrelative KFF-

connected foster parents, R.W. underwent genetic testing; the results became

available to the Defendant Foster System Operators in December 2017.

Unbeknownst to the Birth Parents at the time, the test results indicated R.W.

had an abnormal bone disorder. Although the bone disease R.W. has turned
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out not to be the lethal Osteogenesis Imperfecta [OI] disease suspected, the

results showed she had a form or variant of OI. Specifically, as shown by the

December 2017 lab test results, R.W. has one single genetic mutation which

caused the LEPRE1 gene to dysfunction. Further genetic testing, ordered in

2018 with the results not available until March 2018 after the conclusion of the

TPR adjudicatory hearing showed R.W. also has the BRAC2 gene which 100%

pathogenic (a gene leading to an aggressive form of breast and ovarian

cancer). R.W. also has been diagnosed with a sickle cell trait. [It is notable the

BRAC2 genetics test results list the “father” as having given a specimen for

genetic testing; he did not].

    82.   Information available indicates that Nemours staff told the Foster

System Operators the test results were complete by January 3, 2018 and were

made available to Foster System Operators shortly thereafter, but the Foster

System Operators never filed the complete December GeneDX lab test results

with the court, did not offer the results in evidence, and did not provide the

complete results to the Birth Parents.

    83.   Defendant Foster System Operators and lead agency KFF and the

Caucasian nonrelative system-connected foster parents were in receipt of the

OI bone disorder variant information prior to the TPR trial.
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    84.   The Defendant Foster System Operators did not put the bone

disorder results from GeneDX [attached here as Exhibit 2] into evidence

during the trial, and the x-rays were not displayed or used during questioning

of any witnesses. An entry for the January 3, 2018, judicial review noted that

the results were in on the testing for the Osteogenesis Imperfecta but were

waiting for further review at Nemours. Although Defendant Foster System

Operators introduced as their Trial Exhibit #6 “Nemours Hospital Genetic

Report”, that exhibit [attached here as Exhibit 3] contained only a two-page,

undated letter from Dr. Georgianne Arnold, geneticist, with three pages of

apparent literature; the exhibit contained none of the pages of the GeneDX

laboratory results themselves.

    85.   The dependency court judge was waiting for the results even after

the TPR trial concluded on March 2, 2018, and indicated the TPR ruling would

potentially be reconsidered when the Foster System Operators filed them, but

the Foster System Operators never did file them, and never backed off their

claims at the trial that R.W. was a perfectly healthy child other than abuse –

yet there was no evidence of any abuse of R.W. by either Birth Parent!

    86.   Shortly after the trial, the Defendant Foster System Operators - who

had the OI results since December 2017 - also received the additional genetic
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results that had been pending at the time of the trial. The Birth Parents were

not given the complete test results of either genetics tests done, either for the

OI or the full panel ordered in early 2018 and had difficulty obtaining them

despite many years of documented efforts. The Birth Parents did not receive

the complete set of OI genetic test results until February 2022. All of the

Defendant Foster System Operators and those working with them, including

Nemours Children’s Hospital concealed the results from the dependency

court, the Birth Parents and their attorneys.

    87.   It was not until February 2022 that the Birth Parents received the

complete OI lab test results, showing that while R.W. did not have the lethal

OI with two mutations, she had one recessive gene mutation, known as

LEPRE1, which has been described as a variant of OI. Yet despite knowing the

trial court wanted the results, the Defendant Foster System Operators chose

to withhold the scientific documents that exposed the lack of evidence

supporting their claims, just as they had withheld from the dependency judge

that they had wrongly and unlawfully handled the case so that nonrelative

system-connected board member/trustee and wife could have R.W..

    88.   In addition to withholding the genetics test results, and despite

their claims to the dependency court that R.W. was a perfectly healthy child,
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the Defendant Foster System Operators and lead agency engaged in further

ignoring of their obligations to provide the court and Birth Parents with

complete copies of all medical records of children in the foster care system.

     89.    Despite their obligation to     provide the Birth Parents and

dependency court with R.W.’s complete medical records,           none of    the

Defendant Foster System Operators provided either the dependency judge or

the Birth Parents the complete genetics test results or R.W.’s extensive records

regarding medical care provided to her between August 30, 2017 and the TPR

trial;   the Birth Parents had difficulty obtaining them, not receiving the

December 2017 GeneDX lab results until February, 2022 The Birth Parents still

not have received all of     the records of medical care the Foster System

Operators subjected R.W. to, and obtained for R.W., between the time of

shelter and the time of the adoption, but for which the Birth Parents began

receiving explanation of benefit forms from the health insurance company of

the Birth Mother, which also provided health insurance coverage for Lil R.

and R.W.

     90.    At the TPR trial, it appeared the Defendant Foster System Operators

had chosen to make two points: (1) R.W. was perfectly healthy; (2) R.W. did



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not have Osteogenesis Imperfecta, ignoring the other genetic findings

showing she was not “perfectly healthy.:

       a. Either because they did not understand the science, or because they

          were trying to mislead the dependency judge and others, the

          Defendant Foster System Operators withheld from the judge

          records relating to more than $70,000 in bills for health care services

          for R.W. [some $25,000 billed for the OI and the complete battery of

          other genetics tests      ordered by Defendant Foster System

          Defendants, and more than $49,000 for other health services for an

          immunologist chosen by the Defendant Foster System Operators].

       b. Federal and Florida law required that ALL of the child’s medical

          records be promptly obtained and fully provided to the court and

          the Birth Parents no less often that with the submission of the

          judicial review and social study reports that must be filed no less

          frequently than every six months, and more frequently as records

          became available.

       c. The Defendant Foster System Operators apparently directed that

          the thousands of dollars for bills for the care they believed the

          “perfectly healthy” R.W. needed be sent to the health insurance
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       company of the Birth Mother, who received the explanation of

       benefit forms after the TPR trial was over and the Birth Parents’

       rights had been ended.

    d. As to the OI testing, instead of putting the complete lab results in

       evidence, the Defendant Foster System Operators put none of the

       actual lab results in; instead, they submitted an undated letter to

       buttress a witness called to say that R.W. did not have OI. The

       witness did not explain the actually found genetic mutation of the

       LEPRE1 mutated gene. Clearly the actual lab results did not show

       a “perfectly healthy” child, but one with a variant form of OI, or a

       different bone disease

    e. The Defendant Foster System Operators also did not share with the

       dependency judge or the Birth Parents at any time the appellate

       court opinion from Pennsylvania, In the Interest of N. M., 2018 PA

       Super 119, 186 A.3d 998 (2018)[Exhibit 4 attached] which involved

       a child with the LEPRE1 gene mutation, and in which the appellate

       court examined the science involved with mutated gene in question

       against the backdrop of an unexplained fracture situation and



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           found – as here – no evidence of any parental abuse and reversed

           the TPR.

     91.   At the February 23, and March 2, 2018, trial the Defendant Foster

System Operators did not meet their burden of demonstrating that the Birth

Parents committed any act of abuse or neglect of Lil R. or any abuse of R.W.

that caused the child’s fractures. Stated differently, while the evidence

demonstrated, and no one denied, that R.W. had fractures of different ages,

the Defendant Foster System Operators simply did not meet their burden of

proof, to show that clear and convincing evidence established any parental

abuse or neglect that caused harm to one or both of the children. All that the

proof presented showed, at most, was no injury whatsoever to Lil R., and as

to R.W., a bone disease not fully worked up. Looked at in retrospect with the

hidden and concealed evidence visible, there is no support for the Defendant

Foster System Operators claiming they met their burden of proof. Instead,

what is clear is the deliberate mis-operation of the foster care system and

ignoring of the law to get the KFF director/trustee and his wife a child they

had no right to, using fraud on the court stealing and diverting R.W. away

from her family.



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      92.     Counsel for the Defendant Foster System Operators tried to

mislead the dependency judge about their burden of proof, saying they did

not have to prove abuse or neglect, that the fractures were enough in the

absence of appropriate explanation from the Birth Parents. Counsel for the

Defendant Foster System Operators, including trial counsel for DCF and

GAL, were wrong. The United States’ Supreme Court opinion in Santosky v.

Kramer, supra, still applies. This is simply not a burden-shifting situation. The

Defendant Foster System Operators had the entire Santosky burden

throughout and did not meet it.             Pediatrician Wallizada’s testimony

established his belief and professional assessment about R.W. having a bone

disease that resulted in unexplained fractures. Dr. Wallizada expressed his

assessment to the Birth Parents that R.W. had a bone disease resulted in the

fractures. During a phone conversation on January 8, 2018, even geneticist

Dr. Arnold told Dr. Wallizada that R.W. had a form of Osteogenesis

Imperfecta.

      93.     There was no evidence adduced at the TPR trial the Birth Parents

were neglectful; they had taken both Lil R. and R.W. for medical care

whenever warranted, just as they did in August 2017, looking for

information as to whether there was something wrong with R.W.’s leg.
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     94.   To have the Defendant Foster System Operators take over R.W.’s

care from Dr. Wallizada in an attempt to make a case for which there was no

evidence, the Foster System Operators overstepped their bounds. It is not

the role of the CPT or the other Foster System Defendants to interject

themselves into ongoing health care of Florida’s children when the primary

doctor is one licensed and credentialled by the Department of Health

Medical Board, as Dr. Wallizada was, and is. It is also unlawful to withhold

from the dependency court judge all of the medical records they should have

promptly obtained and provided, to the court and the Birth Parents. That

they took these actions to accomplish the taking, the internal diversion, of

R.W. to the nonrelative system-connected board member/trustee affiliated

with the very lead agency responsible for handling the case evidences the

“thumb on the scale” approach the Foster System Operators used, while

concealing the self-dealing and other misdeeds from the dependency court

judge and the Birth Parents.

     95.   When viewed, the actual lab test results provided an explanation

for R.W.’s condition that resulted in or contributed to the fractures. While

the results show R.W. did not have the full, more severe form of OI, the

GeneDX lab results show that R.W. tested positive on the LEPRE1 gene that
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caused dysfunction of the gene. Additionally, R.W. inherited from her

biological mother the 100% pathogenic BRAC2 gene and the sickle cell trait.

      96.   In its closing argument, with the lab results not in evidence but

of   which DCF’s attorneys were aware, the DCF attorney misrepresented

that R.W. did not suffer from OI or any other bone disease related to the

fractures and incorrectly claimed - again without the lab test results being

before the court that there were no variants linked to any lesser form of OI

found in R.W., continuing the fraud on the dependency court.

      97.   Plaintiff Birth Mother Taniyah Crutch-Williams had private

health insurance in effect at the time of her pregnancy with R.W. Although

the Defendant foster system operators were careful to not attach to the

judicial review reports R.W.’s medical records that they had obtained, and

falsely claimed at the trial that, apart from what they contended was parental

abuse, the genetic testing showed that R.W. was a “perfectly healthy child”

who had no brittle bone disease whatsoever, the insurance information

“explanation of benefits” forms the Birth Parents obtained after the TPR trial

showed that the Defendant Foster System Operators subjected R.W. to

extensive testing between the time of the detention hearing in late August

2017 shelter and the adoption of R.W. in July 2019.
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      98.   The bills sent to the Birth Mother’s health insurance for the two

rounds of genetics testing done totaled more than $25,000; additional

medical diagnostic and treatment apparently requested by CPT or DCF to

be done by doctors associated with Nemours Children’s Hospital added

more than another $49,000 in bills submitted to the insurance company.

Why was that information not put into evidence at the trial? Why was it not

given to the dependency court judge, the Birth Parents or the custodial

relatives of Lil R. to let them see what health issues R.W. had, and what

health issues the other children should be tested for? This information would

have exonerated the Birth Parents and, as importantly, would have informed

the Birth Parents and Adoptive Parents of Lil R. of the health issues R.W.

had, and the issues pertinent to the health of Lil R.

      99.   These test results, especially the 100% pathogenic BRAC2 gene,

were detrimental to the health of all the children, as well as the Birth Mother

and the extended family. Although the Defendant Foster System Operators

provided the full results and genetic counseling to their system-connected

foster parents who had R.W., they withheld that information from the

Williams family, which did not learn of the cancer gene until during later-

born T.W.’s dependency case had been filed against them in 2021, some three
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years later! The judicial review reports show the favored system connected

KFF board member/trustee were given full access to the information, again

with no reason for withholding the information from the Williams family

and its members.

      100. After the TPR trial started on February 23, 2018, but the day

before the scheduled conclusion of the TPR trial was to take place on March

2, 2018, the Birth Parents had a brief supervised visit with daughter R.W.,

then approximately ten months old. The Birth Parents were optimistic that

their nightmare would soon be over, expecting the trial to end with R.W.

being returned. It was the Birth Father’s birthday. Lead agency case mangers

supervised the visit between the Birth Parents and their beautiful daughter;

after it was over, the lead agency case managers told them that would be the

last visit, and it was. They have not seen R.W. since.

      101. On March 2, 2018, the trial judge heard final procedural matters

and closing arguments, said he would review the evidence and set the case

for a status conference on March 13, 2018.

      102. On March 9, 2018, with nothing in the 2017 dependency case

record revealing the connection between KFF and the foster parents, or the

blatant conflict of interest existing between the KFF case managers being
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responsible for handling Lil R. and R.W.’s dependency case on the one hand,

while having to be accommodating to the desires of the nonrelative system-

connected licensed foster parents/Board member/trustee, without the lab

results and extensive medical records the court and Birth Parents should

have been provided before the TPR trial, apparently unaware of all of the

information the Defendant Foster System Operators had withheld, the

dependency court entered an order terminating the parental rights of both

parents to both Lil R. and R.W. after adopting the Defendant Foster System

Operators unsupported contention that R.W. was a victim of abuse. This

travesty of justice was the product of        the Defendant Foster System

Operators’ disdain for truth and law, its disdain for the judicial branch, their

belief they are entitled to get away with whatever they want, as well as

untruthful testimony of CPT medical director Kathleen Dully, the system-

connected foster mother and other witnesses called by the Defendant Foster

System Operators, combined with the strategically misleading presentation

of certain evidence and withholding of other information. Contrary to the

final judgement terminating the parents’ rights, the system-connected foster

parents were not licensed medical foster parents.



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      103. It is not presently known if the TPR judgement was prepared for

the judge’s signature by DCF; that appears to have been the practice at the

time; if so, to the extent that the judgement does not accurately reflect the

actual evidence at the trial, the content of the final order may itself be further

additional evidence of the fraud the Defendant Foster System Operators and

their lead agency perpetrated on the dependency court.

      104. There are two stages at which placement decisions are made

during a dependency case: when a child is detained following a shelter

petition and when the Birth Parents’ rights are terminated.

      105. At both discrete times, as well as throughout the dependency

case, the Defendant Foster System Operators are expected to follow the law

to locate appropriate relatives. Here, at the outset of the case, the Defendant

Foster System Operators showed their disregard for the law by ignoring

R.W.’s relatives in August and September 2017, falsifying a report to falsely

accuse the maternal grandmother of abuse, ignoring the other maternal and

paternal relatives of R.W. and internally diverting the child R.W. to its own

system-connected personnel, completely contrary to law.

      106. The March 2018 TPR ruling ending the Birth Parents’

fundamental rights to parent Lil R. and R.W. gave the Defendant Foster
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System Operators another opportunity to follow the law and do things right,

conducting the required diligent search to update the information as which

of Lil R.’s and R.W.’s relatives who would be selected to adopt them.

     107. DCF’s AARC recommended that the paternal grandparents

Charlotte Williams and Rodney Williams, Sr. adopt both R.W. and Lil R. At

one point, the Defendant Foster System Operators provided the paternal

grandparents with the so-called “Red Folders”, the folders supposedly

containing all of the medical records for the children being adopted. Even

thought the AARC recommendation was made after the TPR judgement, it

did not contain the GeneDX lab results or any of the medical records that the

Foster System Operators had compiled, but only a single GAL Program

report from December with no reference to the actual then available lab

results. Also missing from “Red Folder” for R.W. were the judicial review

reports and all of the medical information the Foster System Operators had

provided R.W.’s system-connected custodians.

     108. Sometime after the TPR judgement, the paternal grandparents

were afforded an opportunity for a sibling visit between their grandson Lil

R. and their granddaughter R.W. The visit took place at the lead agency

office, with one of the case managers supervising. At one point the system-
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connected foster mother came into the room, was told by the supervising

case manager she did not need to be there, and left, and went and talked to

other lead agency staff. Despite the AARC recommendation, and the

Department at one point indicating its approval of the paternal grandparents

as the adoptive parents for both Lil R. and R.W., the Defendant Foster

System Operators apparently followed the instructions of the system-

connected foster mother, because there were no other sibling visits between

the paternal grandparents, Lil R. and R.W.

      109. At one point, the attorney for system -connected foster parents

said they would appeal the AARC recommendation.               Instead, they

convinced the Foster System Operators to do what they wanted, then

collaborated on sending the message to the paternal grandparents that if

grandparents tried to adopt R.W., they would not get to adopt R.W. and

would lose Lil R. as well.

      110. The system-connected KFF board member and his wife declined

to go along with the AARC recommendation and objected to its

recommendation. With the help of KFF, they tried to block AARC

recommendation that the paternal grandparents adopt R.W., and were



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successful in blocking any further sibling visits, with no explanation ever

given as to why the siblings were being kept apart.

      111. The paternal grandparents learned that at least one report the

Foster System Operators filed with the dependency court incorrectly

indicated the paternal grandparents cancelled a sibling visitation, which was

not correct.

      112. Paternal grandparents Charlotte Williams and Rodney Williams,

Sr. adopted Lil R. in April 2019. They should have already been promptly

given all of the genetics test results relating to R.W., so they could know, in

a timely fashion, what testing they should have done on Lil R., who had been

with them for more than a year. The Defendant Foster System Operators

never gave them the information.

      113. The paternal grandparents had requested to adopt, and were

approved by the AARC, to adopt both Lil R. and R.W. [A November 7, 2018,

note reflects as of that date that DCF had chosen the paternal grandparents

for adoption of both children, and noted that the foster parents objected, and

wanted to adopt R.W. themselves]. To get the AARC approval, the paternal

grandparents had prepared their home, completed a detailed Home Study

to adopt both of their grandchildren and keep them together. Their home
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study indicated they were willing to adopt both of the children without

receiving the adoption subsidy to which any adoptive parent is entitled.

     114. After AARC recommended that they adopt both Lil R. and R.W.,

with R.W.’s foster parents and their attorney indicating they objected and

would keep fighting, threats were conveyed to the paternal grandparents

threatening them, saying they could lose Lil R. if they did not let the foster

parents adopt R.W.

      115. There were at least three attempts by the system-connected

foster parents and their Foster System Operator supporters to use the

dependency system to take Lil R. from his biological family, as they had with

R.W., to add Lil R. to the KFF-board member foster family. In the fall of

2018, after the TPR judgement and before Lil R.’s adoption, lead agency KFF

supported Foster System Operators DCF and the GAL Program filed a

motion to change the placement of Lil R. to the nonrelative system-connected

foster parents who had R.W.; the motion was denied over their objection,

but the pressure on the paternal grandparents continued, but that was not

the last time the Foster System Operators tried to permanently divert Lil R.

from his family. Another attempt to use the system to take Lil R. occurred

after his adoption in April 2019; a DCF/lead agency case worker form Clay
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County attempted to remove Lil R. from his daycare without a court order

or exigent circumstances, stating she was going to “take him where his sister

is!”, the home of the KFF-connected board member/trustee licensed foster

parents. Lil R.’s adoptive father Rodney Williams, Sr. was successful in

stopping the attempted taking. In October 2019, shortly after the adoption of

R.W. by the system-connected nonrelatives was finalized, Defendant Foster

System Operators filed a detention petition to remove Lil R. from his

adoptive parents; almost immediately, the adoptive parents of R.W. and

their attorney filed a motion in the 2019 case involving Lil R. in a further

attempt to have Lil R. wrongly diverted to them.

     116. The efforts of the paternal grandparents were insufficient for

them to adopt their granddaughter R.W.; they had paid an attorney to

represent them in the adoption of both grandchildren, but they did not learn

until much later, after the nonrelative system-connected foster parents had

adopted R.W. that the Foster System Operators and the Lead Agency, paid

money to their attorney before R.W.’s adoption in July 2019. In July a KFF

board member and his wife, with the continued backing of KFF, GAL and

DCF, were approved to permanently separate R.W. from her biological

family and adopt her, and the adoption ruling was obtained in July 2019,
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with the help and thumbs on the scale of the Defendant Foster System

Operators, who stripped R.W. of her birth name, her heritage, her biological

family and her culture and community.

     117. After Lil R’s adoption in April 2019 and R.W.’s July 2019

adoption, the Defendant Foster System Operators’ filing of a dependency

petition to take Lil R. from the adoptive parents went forward, with a case

plan being offered. Ultimately, after further trauma to Lil R., the Adoptive

Parents completed their case plan and maintained custody of their adoptive

son although the concern of further Foster System attempts to achieve a

diversion of Lil R. to the system-connected now-adoptive parents of R.W.

continued to loom.

     118. The potential for further misuse and abuse of power

demonstrated by the KFF-connected adoptive parents continues.          At a

hearing in late 2019 in the 2019 case involving Lil R., a hearing at which

R.W.’s adoptive parents and their attorney were not parties, the system-

connected foster/adoptive parents nevertheless barged into the courtroom

with their adoption attorney and made false and negative claims against a

maternal relative of Lil R’s, Tiara Crutch. By the time of that hearing the

Adoptive Parents/paternal grandparents had learned of the KFF connection
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of the then-adoptive father and advised their lawyer, who informed the

dependency judge presiding over that hearing of the adoptive father’s status

as a KFF board member, with the dependency judge recognizing that was a

conflict of interest.

      119. Also, during the 2019 Lil R. case, well after the TPR order entered

in March 2018 and after Lil R.’s April 2019 adoption day, DCF and its lead

agency KFF, and the GAL Program convinced the judge to enter an ex parte

“no contact” restraining order against the Birth Parents, even though the

Birth Parents had not been given notice or an opportunity to be heard. After

obtaining the order, the Defendant Foster System Operators did not arrange

for the order to be served on the Birth Parents. When the Birth Parents

contacted the Clerk to try to obtain a copy of the so-called order from the

Clerk’s Office, they were told no restraining order could be found.

      120. In May 2020, three years and one day after R.W.’s May 2017

birthday, the Birth Parents gave birth to their third child, T.W. Apparently

continuing their efforts to improperly internally divert children from their

birth families to the system-connected former Board member/trustee, there

was at least one attempt by the Defendant Foster System Operators to



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remove T.W. from his Birth Parents, with a dependency petition filed in

2021.

        121. This time, the Defendant Foster System Operators were not

successful. In T.W.’s case, competent counsel were appointed to represent

the Birth Parents: the Regional Counsel’s Office represented the Birth

Mother and conflict counsel represented the Birth Father.

        122. The allegations in the dependency petition filed in February 2021

in T.W.’s case were similar enough to those in the 2017 dependency case

involving Lil R. and R.W. that the dependency judge in T.W.’s case allowed

the Birth Parents and their counsel in the 2021 case to access the information

from the 2017 case, and to follow the trail of suggested areas of inquiry. Even

though during the 2021 case the actual complete GeneDX lab test results

were not able to be obtained, [they were not able to be obtained until

February 2022], the Birth Parents’ attorneys took depositions of at least one

geneticist expert witness and radiologist/metabolic bone disease expert

witness. In August 2021 at a pretrial hearing, after being confronted with the

confirmed diagnosis of R.W. having a metabolic bone disease, after learning

the experts would be allowed to testify at the then-pending dependency trial

scheduled for August 2021, Defendant Foster System Operators DCF and
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GAL Program agreed to voluntarily withdraw the petition in T.W.’s case

before the expert witnesses could testify before the dependency judge at the

then-pending trial on the dependency petition. In dismissing the petition,

DCF and the GAL Program staff assured the then-presiding judge that they

were satisfied that T.W. was safe with the Birth Parents and there was no

need for his removal, clearly acknowledging that R.W. had a metabolic bone

disease, and should not have been taken from her Birth Parents, who had

been trying in August 2017 to get proper medical care for their daughter

R.W. T.W. remained, and remains, in the care and custody of his Birth

Parents, with no foster system supervision. This voluntary dismissal of the

dependency case regarding T.W. is further evidence of the travesty that

occurred in the handling of the 2017-2018 case, which should itself have been

dismissed as baseless, just as happened in 2021.

     123. No action has yet been taken in the dependency case to undo the

travesty that had occurred in 2018 in terminating the Birth Parents’ rights to

Lil R. and R.W.

     124. As to the inappropriateness of terminating parental rights in an

unexplained fracture case when the child with the fractures has the LEPRE1

genetic mutation in one recessive gene, see In the Interest of N.M, supra
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(footnotes 23, 24 and 7 on pp. 9-10 are particularly illustrative as to the

inappropriateness of terminating parental rights with LEPRE1 children).

[Exhibit 4, attached].

      125. The Plaintiff Adoptive Parents of Lil R. were willing and

available to assume custody of both of their grandchildren Lil R. and R.W.

upon the children’s removal from the parents in August 2017, after the

allegations of abuse were levied against their son Rodney Williams, Jr. and

his wife Taniyah Crutch-Williams, the Plaintiff Birth Parents. The paternal

grandparents, who passed an initial home study for placement of the

children in September 2017 and an even more rigorous background check

and home study to be approved to adopt their grandson Lil R. were thwarted

and denied the adoptive placement of their granddaughter R.W., who

remains separated from her Birth Family to this day. The Plaintiff paternal

grandparents are still available for placement of R.W.

      126. Meanwhile, even though the Adoptive Parents of Lil R. should

have the same right of access to the 2017 file as the Adoptive Parents of R.W.,

the Defendant Foster System Operators [including DCF, the GAL and R.W.’s

adoptive parents and their attorney are fighting “tooth and nail”, [words of

R.W.’s adoptive parents’ attorney] to keep Lil R.’s adoptive parents from
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having access to the docket and the documents filed in the case file. At a

hearing earlier this year, the Foster System Operators, R.W.’s Adoptive

Parents and their attorney successfully argued to the dependency court that

Lil R.’s adoptive mother Charlotte Williams could not be present in the

courtroom at a hearing on a motion for continuance or for other motions in

the 2017 case relating to both Lil R. and R.W., because the case had

supposedly been declared “a closed proceeding” to which Lil R.’s adoptive

parents were not welcome. It does not appear Lil R.’s adoptive parents

Charlotte Williams and Rodney Williams, Sr. were given notice of any

motion and hearing at which the “closed hearing” status was determined or

their exclusion from the case was determined and from Lil R.’s case were

considered, despite her adoptive son Lil R. being a full party. Certainly, their

due process rights and the statute [Fla. Stat. § 39.0132] regarding the right

of children and their legal guardians to dependency case files clearly support

their right to notice and an opportunity to be heard. It also appears that the

GAL Program continued to unlawfully participate in the 2017 dependency

case of Lil R. and R.W. after the entry of an order discharging them in April

2019: clarification has been requested from Defendant Foster System

Operators, but no documentation has been provided.
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          WHEREFORE the Williams Family Plaintiffs request the following

relief:

          a.   A preliminary and permanent injunction against Defendants and

its directors, officers, agents, employees and representatives and in and all

persons acting in concert with them from engaging in each of the unlawful

practices set forth herein;

          b.   A declaratory judgement that the practices complained of in this

Complaint are unlawful and violate 42 U.S.C. 1988;

          c.   The entry of an order assessing their costs and reasonable attorney’s

fees against the Defendants pursuant to 42. U.S. C. § 1988;

          d.   Such further relief as the Court deems appropriate.

                    B.    Second Count -The Rogers Family

          127. Rogers Family Plaintiffs reallege paragraphs 1 through 17, 25

through 29, and 42 through 53 and further allege.

          128. David and Charlotte Rogers and their daughter Alexandra

(pseudonyms) are residents of North Carolina.

          129. Prior to 2017, the Rogers Plaintiffs adopted infant Alexandra,

shortly after her DeSoto County, Florida birth, and let the adoption officials

know of their willingness to adopt any siblings of Alexandra.

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      130. Florida is one of at least forty-nine (49) states which had adopted

the UCCJEA, Fla. Stat. §§ 61.501 through 61.542 [Massachusetts is

apparently still considering adoption of the Act], the Uniform Act that

provides for protection of due process rights to notice and an opportunity to

be heard on questions of placement and custody of children, as well as

visitation.

      131. Every dependency case in Florida is subject to the UCCJEA, with

the dependency court with a pending dependency case having exclusive

jurisdiction over the foster child.

      132. When Alexandra’s little brother M.S. was born in May 2017 and,

a few days later was taken into foster care in DeSoto County, Defendant DCF

[and its contracted lead agency Safe Children Coalition [SCC]] had a duty to

comply with the UCCJEA and give the Rogers Parents prompt notice of the

occurrence.

      133. The Defendant Foster System Operators also had a duty to

conduct a diligent search for relatives of M.S., which by law, included the

Rogers Parents. Fla. Admin. Code §65C-16.002(3) (a regulation adopted

by DCF itself) specifically required the notification of adoptive parents of

siblings of the sheltered child.
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      134. DCF [including its contracted lead agency Safe Children

Coalition (SCC)], the CPT and GAL Program had a duty to give prompt

notice to the Rogers family and to arrange for the placement of M.S. with

them, both on a temporary and permanent basis.

      135. Instead, they delayed the notification, choosing to take M.S. and

divert him to system-connected foster parents, illegally, completely ignoring

the legal requirements of Florida law, and the best interests of M.S. to be with

his sister Alexandra in the Rogers home.

      136. The nonrelative system-connected foster parents to whom the

Defendant Foster System Operators diverted Alexandra’s brother included

a couple with many connections to the foster system and no relation to M.S.

or any relative of his. Both had served as foster parents of many nonrelative

foster children. They had served as group home parents for the system. The

foster mother also served as a volunteer for the GAL Program, and the foster

father, a licensed clinical mental health provider, performed Comprehensive

Behavioral Health Assessments (“CBHA’s”) for many foster children in lead

agency Safe Children Coalition [SCC]’s catchment area, and had apparently

been under contract with the lead agency at some point.



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      137. As with the other families, Defendant Foster System Operators

had the obligation to place M.S. with relatives promptly at two separate

times during the dependency process: when M.S. was detained at the 2017

shelter hearing and in 2018 when parental rights were terminated. By the

terms of DCF’s own administrative regulations relating to the importance of

making sure siblings were placed together, including Fla. Admin. Code §

65C-16.002, the Foster System Operators were obligated to promptly and

immediately give notice to the Rogers in North Carolina, as the adoptive

parents of Alexandra, treating the adult adoptive parents of Alexandra as

relatives. Instead, they chose to select the nonrelative system-connected

foster parents initially, and to ignore the Rogers Family for several months.

After making contact with the Rogers family in early 2018, Foster System

Operators told the Rogers Family they would get the interstate compact

paperwork in process, submitting the motion for the I.C.P.C. home study

and having the dependency court sign the order directing the home, study,

then chose not to ever submit the paperwork through channels in

Tallahassee to the DCF staff who handle coordinating the needed home

study with their counterparts in other states, in this case North Carolina.



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     138. Eight months after M.S.’s being sheltered DCF finally notified

the Rogers, the Rogers Plaintiffs immediately notified DCF and SCC of their

interest in having M.S. placed with his sister Alexandra.        The Rogers

Plaintiffs. located the Birth Mother whose parental rights were still intact,

and she. voluntarily provided her signed consent for M.S. to be adopted and

raised with Alexandra.

     139. When the Rogers Parents finally received notification of the

existence of M.S. some eight months later, DCF and the GAL did everything

they could to block access to the dependency case, keeping them from

participating in the UCCJEA hearing required for the temporary and

permanent placement and custody issues.

     140. The Rogers Plaintiffs, through their adoption entity as specified

by law, moved for custody of M.S. in the dependency case, asking the court

to placed M.S. in their custody, to no avail, as DCF, SCC, and the GAL all

opposed placing M.S. with his biological sister in direct contravention of the

mandates of the Adoption and Safe Families Act [ASFA], the Family First

Prevention Services Act [FFPS], Chapter 39 and the Florida Administrative

Code.



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        141. DCF, SCC and GAL also failed to institute and maintain the

required visitation plan between the full-blooded siblings, ignored the

Rogers’ continued requests for visitation and placement while supporting

placement with system-connected persons they were assisting, while DCF

and GAL continued to ignore the legal provisions that entitled the Rogers to

participation at hearings relating to temporary and permanent placement,

custody and visitation, and other provisions of state and federal law, as well

as the constitutional rights of the Rogers and daughter Alexandra.

        142. At all times material, the nonrelative foster parents for M.S. had

multiple connections to the foster system and were the nonrelative persons

selected by the Defendant foster system operators to raise M.S., contrary to

law.

        143. When a judgement terminating the rights of the Birth Parents of

M.S., Defendant Foster System Operators had still not obtained the court-

ordered home study of the Rogers Family, although the Rogers Family had,

at their own expense, had provided an appropriate complete home study

report.

        144. As of the time parental rights to M.S. were terminated, the

Defendant Foster System Operators continued to ignore the children’s rights
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to be together, and their rights to have visits until placement together could

occur; instead, they continued to completely ignore law, including the

mandatory hearing provisions of the UCCJEA, and the due process rights of

the Rogers Family, and of M.S., to notice and a meaningful chance to be

heard.

      145. Again, as with the other families here, Defendant Foster System

Operators ignored the rights of the children, and the federal and state law

and the Florida legislative findings that children who could not be returned

to their birth parents have better outcomes when placed with relatives,

rather than nonrelative system-connected staff, essentially acting against the

best interests of M.S. and his sister Alexandra.

      146. In 2019, the Rogers Plaintiffs hired an attorney who filed a notice

of appearance and requested discovery. Mysteriously, with no notice or

opportunity for the Rogers Plaintiffs or their attorney to be heard, the

dependency court entered an ex parte order striking the legal papers filed

by the Rogers’ attorney Andrew Chiang.

      147. Thereafter the Rogers retained different attorneys, who filed a

motion for visitation in 2020 and finally, on August 6, 2020, were given

hearing time on August 19, 2020, for the motion to require visitation between
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Alexandra and her brother, M.S.; a hearing was needed because the foster

parents, shielded by DCF, SCC and the GAL, flatly refused to allow contact

between the siblings.

     148. The day after the Plaintiff Rogers e-filed their notice setting the

visitation motion for hearing on the August 19, 2020 hearing date they had

been given by court staff, the Rogers’ counsel received a 7-page order

granting a joint motion submitted by DCF and GAL [not served on the

Rogers or their attorneys], denying the motion for visitation, striking the

notice of appearance and ordering counsel not to provide a copy of the order

to anyone.

     149. Through counsel, the Rogers and Alexandra filed a notice of

appeal, and sent a public records request to DCF, GAL and the Trial Court

Administrator of the Circuit, seeking any ex parte emails sent by DCF or

GAL regarding any joint motion or proposed order.

     150. Contrary to Florida law, DCF and GAL responded that the

Rogers were not entitled to any documents; the Trial Court Administrator

followed the law provided the Rogers      a set of emails from DCF and the

GAL to the Judicial Assistant for Judge Hall with some redactions.



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     151. The Trial Court Administrator’s packet contained two sets of

emails. The first set showed that DCF and the GAL had arranged a secret, ex

parte hearing in December 2019 on a secret DCF/GAL joint motion to strike

the papers filed by Rogers’ attorney Chiang. Another email reflected DCF’s,

and the GAL’s ex parte transmittal of a secret proposed order sent to the

presiding dependency Judge Hall after the hearing; Judge Hall entered the

order DCF and GAL provided ex parte, with the order not provided to the

Rogers Plaintiffs and then-attorney Chiang for several weeks.

     152. The email packet also contained an August 6, 2020, transmittal

email [Exhibit 5] from DCF and GAL to Judge Hall of a copy of a DCF and

GAL joint motion to strike all of the papers pertinent to the August 19

hearing on the motion for visitation between the two children. The email

reflects that the joint motion had not been served on the Rogers Plaintiffs

and their attorneys. The email also reflected that a proposed order, was

being sent with the secret email and secret, unserved motion.

     153. During the months following their learning of Alexandra’s

brother and seeing the roadblocks DCF and GAL placed in their efforts to

participate in the dependency court proceedings, the Rogers communicated

with the Office of the Governor, and the Inspector General, about the law
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violations that were occurring and keeping the two biological children apart,

contrary to law. The communications resulted in the inquiries and

complaints being referred to the Suncoast Region Office of the Regional DCF

personnel and accomplished nothing for the two children or the Rogers

Plaintiffs, other than to enhance the delays interposed between the Rogers

Plaintiffs and the court system.

     154. As of the time of the July 2020 motion for visitation, set to be

heard on August 19, 2020, the two siblings had only seen each other one time

in person, in September 2019. Since September 2019, there have been no

other in person visits, and only one short zoom call [in December 2020]

between the then 5-year-old Alexandra and then 3-year-old M.S.

     155. While Alexandra’s appeal of the August 7, 2020 order was

pending at the Second District Court of Appeal, with DCF and the GAL

participating, and aggressively pursuing every opportunity to end the

appeal on the one hand, and delay any ruling on the other hand by various

motions to strike, while being fully aware of their violation of the UCCJEA

laws, and their denial of the due process rights of the Rogers Family, DCF

and GAL encouraged the foster parents to proceed with not only the

dependency case, but the adoption of M.S. hoping to thwart the judicial
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branch ruling, additionally continuing to       block the dependency and

adoption judges from considering the visitation issue.

      156. The Rogers still have not had the requisite visitation hearings

and have moved to intervene in the adoption case to preserve their and

Alexandra’s rights under law, rights which the foster system Defendants

seem intent on ignoring.

      157. The 2020 appeal resulted in an October 2021 reversal of Judge

Hall’s order. Both DCF and GAL moved         for rehearing, clarification, and

certification. After denying the motions for rehearing and certification, the

District Court of Appeal issued its mandate on April 21, 2022 [copy attached

as Exhibit 6] with Judge Hall’s order reversed, and directing that Alexandra

be given a hearing, as specified in the opinion, reversing the August 7, 2020,

order entered nearly two years ago.

      158. The hearing mandated by the Second District Court of Appeal

has not yet been scheduled.


      WHEREFORE Plaintiffs demand judgement against Defendants and

prays for the following relief:




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           a.    A preliminary and permanent injunction against Defendants

     and its directors, officers, agents, employees and representatives and in

     and all persons acting in concert with them from engaging in each of the

     unlawful practices set forth herein;

           b.    A declaratory judgement that the practices complained of in

     this Complaint are unlawful and violate 42 U.S.C. 1988;

           c.    The entry of an order assessing their costs and reasonable

     attorney’s fees against the Defendants pursuant to 42. U.S. C. § 1988;

           d.    Such further relief as the Court deems appropriate.

                   C. Third Count - The Mitchell Family

     159. The Mitchell Plaintiffs reallege Paragraphs 1 through 17, 30 through

35 and 42 through 53, and further allege:

     160. Initially, prior to the TPR judgement entered in October 2016,

Defendant Foster System Operators DCF [including its lead agency SCC and

the case management agency Youth and Family Alternatives [YFA]] and

Defendant GAL Program handled the sheltering of Regan and her half sister

Chelsea D correctly, making sure that the two sisters were kept together when

placed with relatives, their great aunt April Maxwell and her partner Marcus



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Diamond and their cousins Everett M and Hilarie M. who were like siblings to

them. (all names under this Mitchelle section are pseudonyms)

     161. Chelsea D. was in the Maxwell Diamond home from March 2015

through December 2015, when she was placed with her father and his then-

fiancée/ later wife, the DaCostas.

     162. Regan was in medical foster care for the first five months of her life

until her weight and other issues stabilized, then, with the support of the GAL

program, moved to the Maxwell /Diamond home. Regan’s dependency case

was overseen and managed by SCC [the same lead agency responsible for case

management duties for Alexandra R] and its subcontracted case management

agency YFA. The child Regan resided in this placement with her sister Chelsea

D., two cousins Everett and Hilarie M., and was later joined by her then twelve-

year old maternal aunt, Karla M. who was placed in the home by DCF after

Karla’s shelter following her mother’s death. While in this placement the child

Regan maintained contact with her sister Chelsea in Massachusetts and

Chelsea’s parent and guardian, in addition to other relatives.

     163. Regan was in the Maxwell/Diamond family home from September

2015 until October 2017. Another minor, Karla M., Regan’s aunt but whose

relationship was more like that of a sibling,       joined the family in the
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Maxwell/Diamond home in June 2016 after Karla’s mother died; Karla’s father

Regan’s placement in the Maxwell/Diamond home to be permanent; April

Maxwell and Marcus Diamond had been together for more than 15 years,

parenting April’s children Everett     and Hilarie M. during that time and

parenting the other youngsters as they were added to the home.

     164. While in this placement Regan maintained contact with various of

her biological relatives in Florida and elsewhere, while she continued in the

relative care placement appropriate under state and federal law.

     165. After the TPR judgement ending the parental rights of Regan’s Birth

Parents, however, when the Defendant Foster System Operators transferred

Regan’s case to the adoption unit, things changed, as staff in that unit began to

work to divert Regan away from biological relatives to a nonrelative system-

connected behavioral health specialist of lead agency SCC who had learned she

and her husband could not have children.

     166. The workers in the adoption unit, with the assistance of DCF

attorneys, arranged to obtain an order that required Marcus Diamond to leave

the family home and all of the youngsters, until Regan was out of the home,

essentially trying to cause Ms. Maxwell to feel like she had to choose between

continuing to parent her great niece on the one hand, and her fiancé/ the father
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figure of the youngsters on the other. The conduct relied upon to justify the no

contact order was not recent conduct but involved an event that had occurred

before Regan was even moved into the Maxwell home in September 2015.

     167. The YFA team, while telling Ms. Maxwell that Mr. Diamond was

not allowed to come to the hearing, provided false information to the

dependency judge as to why there should be a no contact order,

misrepresenting that he posed a risk of harm to the children, wanting to put

maximum psychological pressure on Ms. Maxwell to choose to have Mr.

Diamond in the home rather than continuing to provide the stability in which

Regan had thrived, in which the Maxwell children had thrived for more than

ten years, and in which, at that point, Karla had thrived since being placed in

the home in June 2016. In short, Defendant Foster System Operators essentially

smashed an intact family to set up the internal diversion of Regan to the SCC

nonrelative system-connected specialist. Stated differently, there was no reason

for Regan to be removed from the Maxwell home, the adults in which had

cleared the home study process years earlier, and the Foster System Operators

required by law to help children and their families instead abused their power

and acted contrary to law, to set up the kidnapping, the internal diversion of

Regan to the system-connected specialist.
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     168. With the help of DCF attorneys, and in reliance on misleading and

out of context information, System-connected operators convinced the judge

that the home was not safe for Regan. They chose not to tell the judge about the

two Maxwell children in the home or that there was another foster child in the

home. They withheld from the court that there was no risk to the safety of

Regan, and, as importantly, they chose not to tell the judge DCAF, SCC and

YFA staff were implementing their plan to internally divert Regan to the SCC

employee who wanted to adopt the child, that this was a clear conflict of

interest, and that the system was abusing its power to help nonrelatives rather

than complying with the federal and state laws favoring relatives over

nonrelatives, because of the fact that children placed with relatives achieve

better outcomes than those with nonrelative foster system-connected

employees.

     169. At a hearing in early October 2017, mindful of the obligation to put

children with relatives, rather than nonrelative strangers, the judge ordered

Regan’s placement changed to the home of a different great aunt, Dale and

Slade Felton and their two children, Jaclyn and Laurel F. [Dale Felton, April

Maxwell and the grandfather Pedro Morgan are siblings, and Regan was

already familiar with the other family members, who lived nearby].
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     170. In response to that placement, DCF and YFA came up with a

negative home study of the Felton’s, and misrepresented the significance to the

court of a minor drug possession offense from several years earlier, telling the

judge it was completely disqualifying, even though that was not correct and

even though one of the matters over which the AARC had jurisdiction was to

assess risk related to home studies [See Exhibit 1 relating to AARC]. At that

hearing, DCF and YFA again withheld from the dependency judge that they

did not plan to conduct the diligent search that was required, to see what other

relatives there were for Regan, and they did not tell the judge they were

planning to get the child improperly to the system-connected SCC employee,

where the outcome would likely not be as good as it would be if Regan

continued with her relatives.

     171. Unaware of what DCAF and its subcontracted case management

staff were orchestrating, the judge ordered then two-year-old Regan taken from

her family and relatives and returned to foster care, meaning that the child had

to be in the legal custody of licensed foster parents, as the system-connected

case managers and DCF knew. DCF personnel ignored the laws requiring

visitation for Regan with the relatives from whom DCAF and its personnel

were taking her, and blocked the relatives from any further contact, telling them
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they would never see the child again, that they had identified adoptive parents

for her, and they should consider her gone.

     172. When Massachusetts-based Plaintiff Mitchell learned of Regan’s

return to foster care for purpose of being adopted by a nonrelative, she

promptly reached out to DCF and the lead agency to notify them of her intent

to have Regan placed with her; at that time, no one had told the family that the

system was doing what it was doing to arrange for Regan to be put with a

nonrelative system-connected employee of the lead agency who wanted Regan

for herself, and no one told the family that what the system was doing was

unlawful, and that information was being intentionally withheld from the

dependency judge to accomplish the taking of the child.

     173. Plaintiff Mitchell made numerous contacts with DCF and its

contracted lead agency and case management agency, while the foster system

connected personnel kept Regan illegally in the nonrelative non-licensed foster

home of the system connected specialist. None of the persons with whom

Plaintiff Mitchell spoke told her of the foster system operator plan for Regan to

be separated from family so she could be taken by a lead agency official, and

no one disclosed during these several initial months that Regan’s placement in

the employee’s home was unlawful, and contrary to the court order requiring
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Regan to be in a licensed foster home, which the home of the lead agency’s

employee was not.

     174.   A home study of Plaintiff Mitchell was initiated; no family

members were allowed to contact Regan. Several months after the unlawful

taking and placement of Regan with nonrelative system-connected non-foster

parent, around the time when Plaintiff Mitchell was having trouble arranging

even for a supervised visit with Regan, she learned that the Foster System

Operators had selected a nonrelative non-foster parent to take Regan, and

learned that the selected person directly employed by lead agency, and was not

a licensed foster parent whose initial “custody” of Regan was unlawful. Still

Plaintiff Mitchell had trouble arranging for visitations with Regan, even after

her home study had been approved. During the time Plaintiff Mitchell came

forward after learning the system had wrongly taken Regan from the Maxwells

and Feltons, before Plaintiff Mitchell’s home study was approved, Florida

relative – Regan’s great, great aunt Kathy Gomez could have provided

temporary relative care, rather than Regan being with non-foster parents who

were not relatives and who had Regan put with them against state and federal

law and the dependency judge’s order.



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      175. Even after Plaintiff Mitchell’s home study was approved, and she

began to have visits with Regan, first in Florida, later in Massachusetts, Regan’s

custody was not changed to Plaintiff Mitchell. DCF and its operatives

[including the Child Network of Southwest Florida which took over case

management after the blatant conflict of interest between the nonrelative non-

foster parent custodians and the SCC/YFA came to light] continued to allow

the nonrelative, non-foster parents to have custody, and continued to allow

them to control and limit Regan’s visits with Plaintiff Mitchell.

      176. Plaintiff Mitchell applied, passed a home study on an expedited

basis and was approved to adopt Regan, however DCF and its lead agency SCC

continued to keep their thumbs on the scale in support of the improper,

unlawful placement with the SCC employee and her husband who had

snatched the child with the assistance of those at SCC and DCF who ignored

state and federal laws.

      177. When the judge ordered Regan taken from relatives and returned

to foster care, that order meant that the child was in the legal custody of the

state. That order indicated that Regan could only be in the physical custody of

licensed foster parents, as the system-connected case managers and DCF knew.

The Defendant Foster System Operators knew that even an overnight visit
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outside a licensed foster home would violate Florida and federal law, and the

dependency judge’s order, yet ignored the law, and left Regan in the

unlicensed, nonrelative non-foster home of the system-connected employee.

     178. At neither of the October 2017 hearings did DCF attorneys or the

YFA case managers tell the judge the truth, that Marcus Diamond posed no

safety risk to Regan or any other child in the home, that there had been a

misunderstanding on the part of Mr. Diamond’s probation officer about the

result of the family moving to Marion County from Manatee County. Similarly,

they did not tell the judge that any problem with the probation officer about an

alleged lack of notice about the move had been remedied with the probation

being revoked and Mr. Diamond serving the jail time to which he had been

sentenced, nor did they disclose that the sentence had been fully served before

even the earliest of the October hearings removing Regan from the Maxwell

home and relatives.

     179. When the second October 2017 hearing was over, YFA personnel

gleefully bragged about getting Regan out of relative care, telling the Felton

and Maxwell great aunts they would never see Regan again, the adoption was

already lined up; that statement, while true in hindsight, is evidence of the

planned stealing of Regan from her relatives to be permanently placed with
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the lead agency’s employee, contrary to the very federal and state laws the

Foster System Operators were in charge of compelling compliance with.

       180. The day after the hearing, after learning from her brother-in-law

Pedro Morgan that Regan was back in foster care, maternal great aunt Kendall

Mitchell tried to reach foster system officials to obtain custody of her great

niece, her sister’s granddaughter.

       181. First, a DCF employee gave misinformation about the lead agency,

and the number she should call. When she persisted, and finally reached the

YFA adoption unit supervisor, and told the supervisor she would like custody,

the supervisor told her essentially it would never happen, that little two year

old Regan was already bonded         with the selected adoptive family [this

statement was untrue, the SCC employee and her husband had not even met

the child], that it would take a long time to satisfy DCF authorities responsible

for   interstate compact home studies [another untrue statement]. Finally,

supervisor Lidia Casanova told Kendall Mitchell regardless of what Mitchell

did, by the time the case was decided, no judge would stop it.

       182. On or about October 27, 2017, AFTER foster system officials knew

about the availability of great aunt Mitchell, they moved Regan into the

nonrelative home of the lead agency employee and her husband, neither of
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whom had ever been a foster parent, and neither of whom had ever taken the

required training to become a foster parent., who simply were not licensed

foster parents; SCC, YFA and DCF knew the placement was unlawful, contrary

to the court’s order placing the child into foster care [by law, Regan child could

not be removed from the licensed foster home in which she had been placed,

absent a proper evidentiary hearing with proper notice and a further order

allowing the child to be placed with the nonrelative/ non-licensed lead agency

employee, essentially stealing the child, contrary to chapter 787, and federal

and state foster system laws.

      183. DCF and its case managers withheld from the dependency court

and Great Aunt Mitchell information about the violation of the court’s order

and withheld that the selection of the SCC employee to adopt the child violated

the laws in numerous ways.

      184. Defendant Foster System Operators also withheld from the court

the existence of maternal great, great aunt Kathy Gomez, who was ready,

willing, and able to provide lawful relative care for Regan M while the

Defendants completed the Interstate Compact process of getting great aunt

Mitchell’s home study approved.



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      185. DCF and its foster system operators allowed the snatching of Regan

to stand, even after the dependency judge and Great Aunt Mitchell learned of

the inexcusable, improper conflict of interest and placing the self interest of

system-connected workers ahead of the legal rights [under state and federal

laws] for the child to be with relatives, and placing the desires of the lead

agency’s employee ahead of the best interest of Regan, which required her to

be with relatives, not nonrelatives.

      186. Commendably, throughout this case, the GAL supported the efforts

of Great Aunt Mitchell to gain custody of Regan. In May 2018 the AARC – after

hearing evidence – recommended that Ms. Mitchell be the one to adopt Regan.

Even at that point, however, DCF did not move to change Regan’s placement

from the interloping child snatchers, but left Regan with the SCC employee and

her husband who restricted attempted visits and placement change requests of

the Great Aunt.

      187. During the more than a year Great Aunt Mitchell fought the system,

believing the laws would be followed, she was not appointed an attorney; the

Foster System Operators opposed her being given party status, she was not

given any official status to participate in the case, and, as a technical nonparty

had no right to file papers in the case. Ms. Mitchell made several trips from
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Massachusetts to Florida to visit with the child, to bond with her, but was

frustrated by last-minute cancellations of visits by the nonrelative custodians

favored by the Foster System Operators.

      188. Like so many others, Plaintiff Mitchell had reached out early on in

the process to the Governor’s Office and the Office of the Inspector General to

point out how wrong it was, for foster system officials not to follow the law to

place Regan with relatives, of which there were [and are] many; the Governor’s

Office and the Office of the Inspector General referred the matter to the DCF

Suncoast Regional headquarters office in Hillsborough County.

      189. In September 2018, DCF agreed with the SCC employee there could

be a “do -over” on the AARC hearing process that had resulted in the

recommendation that Plaintiff Mitchell be allowed to adopt Regan, all the while

the lead agency and DCF were not following the laws, despite all knowing that

it was in Regan’s best interest to be with relatives.

      190. After not responding to Great Aunt Mitchell’s contact with the

Governor’s Office and to the Inspector General for several months, with the

delays working against Regan’s best interests, DCF Regional personnel

responded in the fall, trying to justify the foster system operators’ unlawful

activities, making false statements.
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     191. By December 2018, Plaintiff Mitchell was still being kept in the

hallway outside hearings, while others, including SCC leadership           and

attorneys were allowed into      the courtroom, and the system-connected

custodians were allowed inside, with system- connected officials insisting that

the byzantine juvenile procedure rule and statutory definition of “party” and

“participant” were properly used to trample Plaintiff McGinty’s due process

rights to be present and heard as a participant who had the same rights as the

Rogers family under the Florida UCCJEA regarding any custody or placement

hearings.

     192. By late December 2018/early 2019, Plaintiff Mitchell was seeing

signs of stress on Regan from the alienating comments the custodians were

subjecting the child to, and realized she was no match for those who had taken

Regan and the foster system operators who had aided and abetted them in

removing Regan from being with relatives. When the foster system operators

got the AARC “do over” to conclude with a recommendation in favor of the

child snatchers, Plaintiff Mitchell agreed to waive her adoptive requests and

agree to specified visits and contacts she would have with Regan going

forward.



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        193. At all times, Regan had many other biological relatives ready,

willing and able to care for Regan, including some in Florida, some in

Massachusetts and elsewhere, who were ignored - contrary to law – by the

Governor’s minions, despite being aware that children not able to be returned

to Birth Parents do better when placed with relatives.

        194. At no time did the foster system operators ever schedule the

hearing that Regan’s grandfather Pedro Morgan was entitled to regarding

visitation, with no attempt by the foster system operators to comply with the

laws.

        WHEREFORE Plaintiffs demand judgement against Defendants and

prays for the following relief:

        a.   A preliminary and permanent injunction against Defendants and

its directors, officers, agents, employees and representatives and in and all

persons acting in concert with them from engaging in each of the unlawful

practices set forth herein;

        b.   A declaratory judgement that the practices complained of in this

Complaint are unlawful and violate 42 U.S.C. 1988;

        c.   The entry of an order assessing their costs and reasonable attorney’s

fees against the Defendants pursuant to 42. U.S. C. § 1988;
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      d.    Such further relief as the Court deems appropriate.


                    D. Fourth Count         The Budlove Family

      195. The Budlove Plaintiffs reallege Paragraphs 1 through 17, and 36

through 53, and further allege:

      196. When DCF [and the lead and case management agencies for Pasco

County, Eckerd Connects [Eckerd] and Youth and Family Alternatives [YFA]]

and the CPT and the GAL decided to remove T.B. from the then-still married

Birth Parents, the Birth Mother provided the names of maternal relatives who

would be suitable caregivers for T.B. She also provided the name of a short-

term placement with a non-relative who is system connected person, a former

Alabama social worker, who was a former foster youth. The nonrelative is also

a licensed foster parent in the local foster care system.

      197. The maternal grandmother, a retired business owner in the state of

Illinois, upon learning of the removal of her grandchild T.B. from the custody

of her daughter, relocated from Illinois to the state of Florida. The maternal

grandmother chose an appropriate home and requested a home study for

placement of her granddaughter. The maternal grandmother, while having an

approved home study, was excluded by the presiding court, based on


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information provided by the assigned case managers, who were actively

thwarting the mother’s attempts to have her child placed with relatives, that

the child could not be placed with her maternal grandmother because her

“bond” with her daughter was “too close.” The fictional checklist denying

placement with T.B. was never reconsidered throughout the duration of the

case. The child continued in the placement with the non-relatives who were

now acting in concert with the foster care system agents.

      198. The mother then offered her maternal cousin as a relative

placement.    The cousin, Mrs. Simone Wilson and her husband reside in

Chicago, Illinois and were willing to receive T.B. in their home for purposes of

adoption.

      199. During the diligent search phase pre-TPR, DCF, its lead agency and

GAL prepared a false report regarding relative Simone Wilson, making it

appear she was not qualified, despite the fact she was, and is, an accredited

professional, currently working as a licensed therapist in the foster care system

in the state of Illinois. The disqualifying information was not factually accurate;

they provided no opportunity for the erroneous information to be corrected,

and did not want to correct it, because they wanted their favored nonrelative



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system-connected caregivers to maintain custody of T.B., despite the state and

federal laws to the contrary.

      200. Although the Foster System Operators were obligated to conduct a

diligent search for relatives, they instead told the Birth Parents’ relatives the

proceedings were closed, and they were not allowed access to the proceedings,

and never updated any of the relatives.

      201. The case management agency on another occasion after advising

the proceedings were closed, told the relatives who contacted the case

managers that if they wanted to be involved, they needed to get attorneys and

ask for participant status, but again denied updates. The maternal relatives who

reached out included Dr. Richard Nunley, Felicia Nunley, Gregory Nunley,

Chauntina Kern, Kiesha Kern, Danielle Nunley, Judy Miller, and Simone

Wilson.

      202. During the case, the Birth Mother, like the Plaintiffs in the other

cases, made complaints to DCF’s Inspector General’s Office about unlawful

actions that were occurring, to no avail.

      203. Prior to the termination of parental rights, the Plaintiff Birth Mother

requested that T.B. be placed with her biological relatives [as required by law]

and moved for placement of the child with the maternal grandmother, which
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the Defendant Foster System Operators blocked unlawfully and without

justification so they could internally divert T.B. to the nonrelative system-

connected person of their choice.

      204. The Birth Mother filed another motion for change of placement to

another maternal relative Simone Wilson during the course of the termination

of the parental rights proceeding after Ms. Wilson’s home study was approved

via ICPC. On September 23, 2020, during the course of the pending trial for

termination of parental rights, a hearing on the Birth Mother’s motion to change

T.B.’s placement to the relative was conducted. The motion was denied based

on inaccurate and erroneous statements in the home study, as evident by the

fact that, at the time of the denied motion Ms. Wilson was a fully credentialed

child therapist for the foster care system in the state of Illinois, in good standing.

The nonrelative licensed foster person and spouse to whom the Defendant

Foster System Operators gave T.B. are system-connected.

      205. The Birth Parents divorced on February 12, 2021, and no longer

have contact.

      206. Even though at least four of T.B.’s maternal relatives initially

received approved home studies, and even though the Plaintiff Birth Mother

was not alleged to have abused T.B., the Defendant Foster System Operators
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continue to ignore the law and do everything they can to keep T.B. with the

system-connected nonrelatives, rather than following the law and placing T.B.

with available maternal relatives.

      207. The pre-TPR lawbreaking by DCF and the GAL continued after the

Birth Parents’ Rights were terminated; notwithstanding the continuing

requirement for them to locate biological relatives, and place T.B. with them,

DCF and GAL continued to ignore the law and their duty to pursue family

finding efforts until they were successful in      locating suitable biological

relatives; they continued to give misinformation to, and to ignore, the relatives

who came forward, continuing their child snatching efforts even though by law,

those efforts are not in T.B.’s best interest.

      208. Birth Mother Budlove, because of her opposition to the unlawful

actions of the foster care system, has been the continued victim of ongoing

actions and harassment by caseworkers and the nonrelative system-connected

custodians, and the dependency court judges from whom the Defendant Foster

System Operators kept pertinent accurate information and to whom Defendant

Foster System Operators gave misinformation about the qualifications of

maternal relatives and the requirements of the law. In the process, T.B. has been

wrongfully removed and diverted from her relatives through inappropriate
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injunctions and wrongful actions in ignoring the Birth Mother’s First

Amendment Free Speech rights, even improperly accusing her of cyberstalking

in her efforts to bring public attention to the unlawful taking and internal

diversion of T.B. to system connected nonrelatives.

            WHEREFORE the Budlove Plaintiffs demand judgement against

Defendants and prays for the following relief:

         a. A preliminary and permanent injunction against Defendants and

            its directors, officers, agents, employees and representatives and in

            and all persons acting in concert with them from engaging in each

            of the unlawful practices set forth herein;

         b. A declaratory judgement that the practices complained of in this

            Complaint are unlawful and violate 42 U.S.C. 1988;

         c. The entry of an order assessing their costs and reasonable attorney’s

            fees against the Defendants pursuant to 42. U.S. C. § 1988;

         d. Such further relief as the Court deems appropriate.

    VI. FIRST CLAIM FOR RELIEF: SUBSTANTIVE DUE PROCESS

      209. Each Plaintiff Family realleges their respective allegations and

further allege:



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      210. The Foster System Defendants have denied Plaintiffs’ right to

substantive due process by, inter alia:

         a. Misusing the Florida foster system to kidnap, snatch or internally

            divert Florida’s children from their biological families, then

            wrongly trying to conceal what they have done;

         b. Misusing the Florida foster system to improperly violate chapter

            787 and similar federal statutes to interfere with constitutionally

            protected First Amendment associational rights between Birth

            Parents and their children;

         c. Ignoring the federal and state law mandatory prioritization of

            Family placements, and misusing foster system powers to steal,

            snatch, kidnap and internally divert children from their Families to

            non-related strangers connected to the foster system;

         d. Using a variety of prohibited and improper actions to accomplish

            the diversion of children, including, withholding pertinent

            information from the dependency judge, the Birth Parents, and

            their attorney; and presenting perjured testimony not consistent

            with facts known to the Defendant foster system operators.



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          e. Ignoring the public’s and Families’ rights to know about the foster

            system, and ignoring public record requests, using whatever

            actions they can think of to accomplish the taking and diversion of

            children from Families, then withholding actual facts and the

            methods used to accomplish their ulterior motives of child

            snatching, then when Families finally figure out how the Foster

            System Operators misinformed the judges and the Families about

            pertinent facts and the laws being violated, claiming that actions to

            remedy the wrongs are too late, and cannot be fixed.

      211. As a result of the substantive due process violations, the Plaintiff

Families are entitled to the declaratory and injunctive relief requested.



      VII. SECOND CLAIM FOR RELIEF: PROCEDURAL DUE PROCESS


      212. The Plaintiff Families reallege their prior respective allegations and

allege:

      213. The Defendant Foster System Operators completely ignore the

rights of persons to be notified of hearings relating to custody and temporary




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and permanent placements of children in the foster system as required by the

Uniform Child Custody Jurisdiction Enforcement Act.

     214. The Defendant Foster System Operators do not like the courts, do

not see, or treat the judicial branch as equal, and treat the judges, and their

efforts to enforce the dependency laws, with disdain, proffering perjured,

incomplete and inaccurate testimony, ignoring the laws, all the while violating

the due process rights of the Plaintiff Families to proper notice and an

appropriate opportunity to be heard in proceedings against Defendant Foster

System Operators who act in compliance with the laws.

     215. The Defendant Foster System Operators use the lack of adequate

education of judges in the dependency system to their advantage, bullying the

dependency judges into giving those who raise questions a sufficiently hard

time that most find it easier to do whatever the Defendant Foster System

Operators want done, without the judges realizing they are not being given

accurate information regarding the law or the facts, and without the judges

realizing how they are wrongly and improperly assisting the unlawful internal

diversion of children from relatives to system-connected nonrelatives.

     216. The Defendant Foster System Operators misstate the law, shift to

the Birth Parents the task of proving their innocence, ignoring settled U.S.
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Supreme Court precedent in Santosky v. Kramer, supra which requires the Foster

System Operators to meet their burden of proving by clear and convincing

evidence what it is that Birth Parents did wrong to cause harm to their children.

      217. The Defendant Foster System Operators wrongly withhold

potentially exculpatory evidence from the presiding dependency court judges,

and the Birth Families, contrary to Brady, supra    to improperly convince the

judges to rule against the Birth Parents and terminate their fundamental rights

to parent their children, and the familial associational rights of all family

members.

      218. Defendant Foster System Operators also engage in secret

communications with judges, using emails sent secretly, not copied to Birth

Parents, or relatives   or their attorneys, dealing with substantive issues, or

transmitting secret motions and proposed orders, forwarded through the

judge’s judicial assistant, completely denying procedural due process

requirements of reasonable notice and an opportunity to be heard.

      219. Defendant Foster System Operators improperly use the statutory

and rule definitions of parties and participants, to keep relatives [including

siblings and their legal guardians] from participating in post-TPR proceedings

relating to permanent placement, even though federal and Florida law
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recognize that children not able to be returned to their Birth Parents do better

overall when they are raised with family, and not strangers, and even though

the UCCJEA is a law in Florida.

      220. Defendant Foster System Operators wrongly ignore their

obligations to proactively and diligently search for family to serve as temporary

and permanent caregivers for their relative minor children, instead ignoring

their duties to find safe, suitable, willing Relatives, then arguing later that

children have bonded to the stranger, non-relatives, and suggesting to the court

that it is not fair to move the children to relatives as a sanction for the unlawful

job performance and system misfeasance and malfeasance. Surely the Foster

System Operators would not argue that kidnappers of youngsters like Patty

Hearst or Elizabeth Smart should get to keep children they kidnap because of

the length of time and the “bonding” time law enforcement takes to find them!

      221. The policies, practices, abuses of power, acts and omissions of

Defendant Foster System Operators constitute actions contrary to the best

interests of the children taken into the system and steal the children from their

families illegally and unconstitutionally, violating the Fourteenth Amendment

to the Constitution of the United States.



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      222. As a result, the Plaintiff Families are entitled to the declaratory and

injunctive relief set forth.

                          REMEDY AT LAW INADEQUATE
      223. Each day that the Defendant Foster System Operators delay their

compliance with controlling laws, the children and their Families are damaged.

There is no plain, adequate, or complete remedy at law, as the ordeals the

Plaintiff Families have encountered, as courthouse doors and case remain

locked and case information showing the wrongful deeds of the System

Operators remain hidden by the Defendant Foster System Operators.

      224. These Plaintiff Families and the Families of Floridians with children

who are being scouted even now to determine who the next targets may be will

continue to be irreparably injured by the Defendants’ policies, practices, acts,

and omissions until and unless this Court grants the injunctive relief requested.

      225. With each day that the Defendants delay their compliance with the

law, continue their unlawful custody of Florida children whose Birth Parents

have been wrongly or unfairly targeted, Florida Families are being harmed and

losing valuable rights for which there is no adequate remedy at law for

damages and can only request this Court to immediately order the Defendants

to stop their unlawful child taking and their wrongful internal diversion

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activities and to immediately begin complying with the provisions of federal

and Florida foster system laws. Every Florida family with children are at risk

of their children being targeted and taken by the Defendant Governor and the

other Foster System Defendants

                                RELIEF REQUESTED

      226. Plaintiff Families   request the Court to     declare     unlawful the

Defendants’ policies and practices of ignoring Florida and federal foster care

laws and the federal and Florida due process provisions of unlawful child

diversions, presenting incomplete evidence, withholding evidence from the

Court and Birth Parents and their attorneys, preventing dependency court

proceedings from being fair and impartial, and wrongly preventing the access

of relatives to receive information and be present at hearings relating to

children targeted by the Foster System Defendants.

      227. Plaintiff Families further request the Court to provide temporary

injunctive relief and a permanent injunction requiring the Defendants to

operate the foster care system in accordance with the state and federal laws in

effect, and to stop ignoring the procedural and substantive due process rights

of Florida’s Children and their Birth Parents and other relatives.



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      228. The injunction must stop, immediately, the current practice of

wrongful child taking and internal diversion from relatives to system-

connected nonrelatives.

      229. The injunction must stop, immediately, the Defendant Foster

System Operators’ practice of allowing children to be placed with system-

connected nonrelatives, unless and until Foster System Operators provide

accurate information documenting that a proper family finding search has been

completed, with the diligent search demonstrating that there are no suitable,

willing available relatives to be caregivers for sheltered children.

      230. The     injunction   should      prohibit   CPT   from   having   their

unsupervised or improperly supervised nurse practitioners seeing if they can

find children to target for child takings and internal diversions so that system-

connected nonrelative personnel can acquire children who should be with

relatives, and who would be with relatives if the foster system officials

complied with their diligent search requirements to find safe relative caregivers

when children cannot safely be returned to the Birth Parents from whom they

are being taken.




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      231. The injunction should require Defendant Foster System Operators

to refrain from using perjured testimony in dependency proceedings and to

notify the local state attorney of any perjured testimony that is offered.

      232. Defendant Foster System Operators should be required to

immediately and promptly provide dependency judges and Birth Parents with

potentially exculpatory evidence not offered at trial.

      233. Defendant Foster System Operators should be prohibited from
fabricating false reports in order to try to disqualify relatives as caregivers, and
the Defendant Foster System Operators should be required to immediately
provide any relative disqualified from serving as a relative caregiver the
information needed to correct the errors in the system-fabricated reports.
      234. Defendant Foster System Operators should be prohibited from

separating siblings from each other without a sibling separation assessment

from being completed, in an accurate and appropriately professional way.

      235. Defendant Foster System Operators should be required to make

sure that non-abusive siblings receive at least two hours per week of direct

contact with each other, and that grandparents are given notice of their right to

an evidentiary hearing on their right to visit their grandchildren.

      236. Defendant Foster System Operators and their attorneys should be

prohibited from communicating secretly with the presiding dependency court

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judge about the case, and any Defendant Foster System Operators should not

be allowed to be represented in any other dependency proceedings if their

attorneys are found to have engaged in secret ex parte communications with the

dependency judge, and attorneys for Foster System Operators known to have

engaged in ex parte communications shall be prohibited from representing

Foster System Operators or training other attorneys to represent Foster System

Operators.

      237. The injunction should require Defendant Foster System Operators

to promptly correct false statements in home studies, and to remove those

whom they listed on the abuse registry to remove the falsely labelled persons

from the registry, and to delete, and not use again, the false statements,

including those relating to Lisa Crutch and Simone Wilson.

      238. The injunction should require all attorneys acting on behalf of the

Florida foster care system to submit an affidavit on personal knowledge

certifying the facts in each case with out of state relatives of children in state

foster care, to timely demonstrate Florida’s compliance, at the time of shelter

and the first hearing after a TPR judgement, with diligent search, family

finding and the notice and hearing requirements of Florida’s Uniform Child

Custody Jurisdiction Enforcement Act.
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      WHEREORE Plaintiffs demand judgement against Defendants and pray

for the following relief:

            a. A preliminary and permanent injunction against Defendants

               and its directors, officers, agents, employees and representatives

               and in and all persons acting in concert with them from engaging

               in each of the unlawful practices set forth herein;

            b. A declaratory judgement that the practices complained of in this

               Complaint are unlawful and violate 42 U.S.C. 1988;

            c. The entry of an order assessing their costs and reasonable

               attorney’s fees against the Defendants pursuant to 42. U.S. C. §

               1988;

            d. Such further relief as the Court deems appropriate.

      Dated this 15 date of June, 2022.
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